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                IN THE UNITED STATES DISTRICT COURT
       FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

UNITED STATES OF AMERICA, the STATE OF )
TEXAS, the STATE OF COLORADO, the STATE )
OF INDIANA, the STATE OF IOWA, the STATE )
OF MINNESOTA, the STATE OF NEW MEXICO,)
the STATE OF TENNESSEE, the STATE OF     )
WASHINGTON, ex rel. HICHEM CHIHI,        )
                                         )
                  Plaintiff-Relator,     )
                                         )
             v.                          )     Civil Action No. 4:18-cv-00123
                                         )
CATHOLIC HEALTH INITIATIVES; CHI-ST.     )
LUKE’S HEALTH; BAYLOR COLLEGE OF         )
MEDICINE; BAYLOR COLLEGE OF              )
MEDICINE HEALTHCARE, D/B/A BAYLOR        )
MEDCARE; APNIX; BONE AND JOINT CLINIC )        PLAINTIFF’S SECOND
OF HOUSTON; GREATER HOUSTON              )     AMENDED COMPLAINT
GASTROENTEROLOGY; HOUSTON THYROID )            PURSANT TO
& ENDOCRINE SPECIALISTS; KIDNEY          )     31 U.S.C. §§3729-3732,
ASSOCIATES; KIDNEY AND HYPERTENSION )          FEDERAL FALSE CLAIMS ACT
CONSULTANTS; LEACHMAN CARDIOLOGY )             JURY TRIAL DEMANDED
ASSOCIATES; PULMONARY CRITICAL CARE )
& SLEEP MEDICINE CONSULTANTS;            )
SURGICAL ASSOCIATES OF TEXAS; TEXAS )
ENDOCRINOLOGY GROUP; THE CENTER          )
FOR ENT; CRISTINA BOCCALANDRO, M.D.; )
LAZARO CHEREM, M.D.; ALBERTO             )
COLOMER, M.D.; CARL DAHLBERG, M.D.;      )
BRIAN DOUGLAS, M.D.; FAREED ELHAJ,       )
M.D.; IRVING FISHMAN, M.D.; ALAN         )
HOFFMAN, M.D.; RICHARD HUNG, M.D.;       )
MEDHAVI JOGI, M.D.; MARCIA KATZ, M.D.; )
ZVONIMIR KRAJCER, M.D.; DEWITT           )
LEACHMAN, M.D.; JAMES LIVESAY, M.D.;     )
ALBERTO LOPEZ, M.D.; ANDRES MESA,        )
M.D.; RON MOSES, M.D.; ISAAC RAIJMAN, )
M.D.; JOSE FERNANDO SANTACRUZ, M.D.; )
NAVNEET SINGH, M.D.; and RAMACHANDRA )
SISTA, M.D.;                             )
                  Defendants.            )
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                      [PROPOSED] SECOND AMENDED COMPLAINT

       Plaintiff the United States of America, through Relator Hichem Chihi, based upon personal

knowledge and relevant documents, states and alleges as follows:

                                      INTRODUCTION

       1.      This is an action to recover damages and civil penalties on behalf of the United

States of America (“USA”) and the State of Texas (“Texas”) for false claims arising out of a

kickback scheme perpetrated by multiple healthcare providers.

       2.      Defendants Catholic Health Initiatives (“CHI”) and CHI-St. Luke’s Health (“CHI-

St. Luke’s”) (collectively, the “Hospital Defendants”) illegally leveraged their business

encouraging wealthy international, private-pay medical patients to travel to the United States for

treatment at the Baylor St. Luke’s Medical Center in Houston, Texas, to induce Medicare and

Medicaid referrals.

       3.      The scheme worked as follows: CHI and CHI-St. Luke’s gifted their Medicare and

Medicaid referral sources with referrals of full-paying international patients; complimentary

interpreter services; complimentary administrative assistance in the form of scheduling, billing,

and collection services; and free international travel-related perks—all with the goal of inducing

Medicare and Medicaid referrals from referring physicians and practices. In return, the Hospital

Defendants received referrals for vast numbers of Medicaid/Medicare patients.

       4.      The Hospital Defendants determined which physicians and practices would receive

the lucrative international patient referrals and related kickbacks based in no small part on the

number of Medicare and Medicaid referrals those physicians and practices would refer back to the

Hospital Defendants for tests, procedures, and medical services at the BSLMC.




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       5.      The Hospital Defendants treated the international patient referral exchange as if it

was an end-run around the laws prohibiting kickbacks for Medicare/Medicaid patient referrals.

But the scheme, which plainly provided valuable consideration for the Medicare/Medicaid

referrals, clearly violates core requirements of the Anti-Kickback Statute (“AKS”), 42 U.S.C. §

1320a-7b(b), which prohibits offering any sort of remuneration to referral sources when one

purpose is to induce the referral of patients for services billed to a federal health care program.

Likewise, the scheme violated the Stark Act, which prohibits physicians from referring Medicare

and Medicaid patients to hospitals with which they have a financial relationship pursuant to which

they receive such kickbacks, and prohibits hospitals for billing the government for services

provided pursuant to such referrals.

       6.      The Hospital Defendants also knew that billing federal health care programs for

services provided to patients referred in this way violated the AKS and the Stark Act. As a result,

the Hospital Defendants also violated the False Claims Act (“FCA”) every time they submitted

such claims to a federal health care program for payment.

       7.      The referring physicians and practices that participated in this kickback scheme

included, but were not limited to, APNIX, Bone and Joint Clinic of Houston, Greater Houston

Gastroenterology, Houston Thyroid & Endocrine Specialists, Kidney Associates, Kidney and

Hypertension Consultants, Leachman Cardiology Associates, Pulmonary Critical Care & Sleep

Medicine Consultants, Surgical Associates of Texas, Texas Endocrinology Group, The Center for

ENT, Baylor College of Medicine (“BCM”), Baylor College of Medicine Healthcare, d/b/a Baylor

MedCare (“Medcare”); Drs. Boccalandro, Colomer, Cherem, Dahlberg, Douglass, Elhaj, Fishman,

Hoffman, Hung, Jogi, Katz, Krajcer, Leachman, Livesay, Lopez, Mesa, Moses, Raijman,




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Santacruz, Singh, Sista; and as-yet-unknown physicians and practice groups, together with their

agents and employees (collectively, “the Referring Physicians”).

       8.       The Hospital Defendants and Defendant Referring Physicians are liable to the USA

for violating the False Claims Act (“FCA”), as amended, 31 U.S.C § 3729 et seq., and to the State

of Texas, for violating the Texas Medicaid Fraud Prevention Act, as amended, TEX. HUM. RES.

CODE §§ 36.001 et seq (“MFPA”).

       9.       Relator Hichem Chihi has personal knowledge of this scheme through his work as

an International Patient Relations Representative in the International Services Department (“ISD”)

at Baylor St. Luke’s Medical Center (“BSLMC”).

                                            PARTIES

                                      Plaintiffs and Relator

       10.      The USA is the plaintiff for whom recovery is sought for false and fraudulent

claims submitted to the federal government by Defendants.

       11.      The USA, acting though the Department of Health and Human Services,

administers the Health Insurance Program for the Aged and Disabled established by Title XVIII

of the Social Security Act, 42 U.S.C. §§ 1395 et seq. (“Medicare”) and the Grants to States for

Medical Assistance Programs pursuant to Title XIX of the Act, 42 U.S.C. §§ 1396 et seq.

(”Medicaid”).

       12.      The State of Texas is an additional plaintiff for whom recovery is sought for false

and fraudulent claims submitted by Defendants to the state government. The State of Texas, acting

through Texas Health and Human Services, is responsible for the administration of the Texas

Medicaid Program and of the Children’s Health Insurance Program.




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       13.     Relator Hichem Chihi is a resident of Houston, Texas. From 2011 through the

present, Mr. Chihi has worked as an International Patient Representative for the Hospital

Defendants in the International Services Department located at Baylor St. Luke’s Medical Center.

As an International Patient Representative, Relator is responsible for, among other things, referring

international patients to outside physicians, scheduling appointments for international patients

with these physicians, scheduling follow-up consultations, testing, or other procedures, and

scheduling language interpreters for each international patient visit.

       14.     Through his work and experience, Mr. Chihi has direct, personal, and independent

knowledge that, through the International Services Department, the Defendants have engaged in a

scheme in which the Hospital Defendants compensated and/or otherwise rewarded the Referring

Physicians with remuneration to induce inpatient and outpatient referrals to CHI and CHI-St.

Luke’s hospitals and clinics. Mr. Chihi gathered the information in this Complaint from his own

experience and observations; his review of hospital records; his administrative involvement in the

medical care of patients treated through the International Services Department; his

communications with employees, agents, and representatives of the International Services

Department and the Hospital Defendants; his communications with medical and administrative

personnel, including the Referring Physicians and their agents, representatives, and administrative

personnel; and other aspects of his job duties. A memorandum setting forth all relevant material

evidence and information in the possession of Mr. Chihi regarding the allegations of fraud

described herein has been served pursuant to 31 U.S.C. §§ 3730(e)(4)(B) and 3730(b)(2).

                                    The Hospital Defendants

       15.     Defendant Catholic Health Initiatives (“CHI”) is one of the nation’s largest health

systems. Headquartered in Englewood, Colorado, Defendant CHI operates in 17 states and



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comprises 3900 health care providers across 100 hospitals, including three academic medical

centers and major teaching hospitals, 30 critical-access facilities, as well as community health

services organizations, long-term care facilities, assisted-living and residential living facilities,

nursing colleges, and home health agencies.

       16.     Defendant CHI is organized nationally into ten regions that are operated as

integrated health systems, including several joint operating agreements, joint operating companies,

and joint ventures. Defendant CHI’s Texas region of operation is comprised of seven acute care

facilities operating in the greater Houston area, including multiple hospitals, emergency, and

diagnostic centers operating under Defendant CHI-St. Luke’s Health.

       17.     Defendant CHI-St. Luke’s Health is a part of Defendant CHI. Defendant CHI-St.

Luke’s Health is comprised of three Texas markets. One of those markets is CHI-St. Luke’s Health

in Greater Houston which includes eight hospitals, eight emergency centers, as well as a

Diagnostic and Treatment Center, and a Radiation and CyberKnife Center. The majority of these

hospitals and centers, together form the Baylor St. Luke’s Medical Center, an 850-bed super

hospital partnered with Baylor College of Medicine. The BSLMC has nearly twenty-five thousand

patient admissions annually, with a further seventy-five thousand plus annual emergency

department visits.

       18.     Defendant CHI purchased Defendant CHI-St. Luke’s Health in 2013. At the time

of the purchase, Defendant CHI-St. Luke’s Health was known as St. Luke’s Episcopal Health

System. As part of the acquisition, ownership of St. Luke’s Episcopal Hospital (renamed St.

Luke’s Medical Center, and subsequently, Baylor St. Luke’s Medical Center) was transferred to

Defendant CHI, which maintained the continuity of its operations, including retaining most of its

employees. CHI and CHI-St. Luke’s Health assumed control and responsibility of the operations



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of St. Luke’s Episcopal Hospital, including its International Services Department, and continued

to provide substantially the same services as were provided prior to the purchase and maintained

many of the hospital’s business relationships, including with referring physicians and practices.

The fraudulent practices described in this Complaint began when the International Services

Department was operated by St. Luke’s Episcopal Health, and the Hospital Defendants continued

the same fraudulent conduct, ratifying it.

       19.     The Hospital Defendants rely for a significant proportion of their income on federal

health care programs, including Medicare and Medicaid. Defendant CHI, for example, derives

42% of its gross revenue from Medicare patients, and a further 16% of its gross revenue from

Medicaid patients. Medicare billings likewise are the single largest source of gross revenue for

CHI-St. Luke’s (and the BSLMC), and CHI-St. Luke’s also derives a sizeable share of its gross

revenue from Medicaid billings.

       20.     Both of the Hospital Defendants play a significant role in promotion, management,

oversight, and/or operation of the International Services Department at Baylor St. Luke’s Medical

Center and supervision, management, oversight, and payment of ISD’s employees. For example:

               a.      The employees of the ISD receive paychecks and employment evaluations

from CHI and are considered employees of CHI. Mr. Chihi’s 2016 Staff Performance evaluation,

as an example, comes on CHI letterhead and refers to Mr. Chihi as an “employee of Catholic

Health Initiatives,” and his paychecks likewise come from CHI.

               b.      However, Vice President Tania Matar, Associate Director Angelita

Sanchez, and other representatives and agents of the International Services Department send

emails using CHI-St. Luke’s Health corporate email signature logo. See, e.g., Exh. 3. Employees

of the ISD also have email addresses ending in @stlukeshealth.org. See, e.g., Exh. 3.



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               c.      Furthermore, on its website, CHI-St. Luke’s Health promotes the ISD,

refers to ISD employees as “our multilingual, professional team,” and boasts that “we have cared

for patients from more than 85 countries.”

               d.      ISD’s management and representatives, including Matar and Sanchez,

sometimes document or distribute policies specific to the ISD on CHI-St. Luke’s Health letterhead.

See, e.g., Exh. 1. Likewise, ISD management and representatives frequently send out routine

correspondence and forms used by the ISD, such as patient information authorization forms for

international patients, credit card authorization forms, and letters from the ISD to embassies and

other recipients on CHI-St. Luke’s Health letterhead. See, e.g., Exh. 1, 2, 11, 12, 13.

               e.      However, ISD management and representatives also distribute other

policies of the International Services Department, such as policies on billing and collections,

including those described below, on CHI letterhead.

               f.      On routine payment forms, the ISD requests that international patients, their

families and representatives, and embassies send checks for payment to CHI-St. Luke’s Health.

See, e.g., Exhs. 12, 13.

               g.      However, payments from the ISD to outside physicians such as the

Referring Physicians for their services treating international patients are sent on checks provided

by CHI. See, e.g., Exhs. 2, 11.

       21.     Thus, ISD employees including Vice President of the ISD Tania Matar and the

Associate Director of the ISD Angelita Sanchez act as representatives and agents of both CHI and

CHI-St. Luke’s Health. Prior to the Hospital Defendants’ acquisition of St. Luke’s Episcopal

Hospital, Matar and Sanchez served as the Director, and Associate Director, respectively of the

International Services Department at St. Luke’s Episcopal Hospital.



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       22.     Both of the Hospital Defendants, acting through their employees, agents, and

representatives, participate in the workings of the ISD; caused and are responsible for the conduct

described in this Complaint, including the illegal remuneration provided by the ISD; and

committed knowing and purposeful violations of federal and state law, as described below.

                               The Defendant Referring Physicians

       23.     At the relevant times, Defendant Houston Thyroid & Endocrine Specialists was a

Texas corporation and/or private medical practice doing business in the Greater Houston area that

provides endocrinology services, and Defendants Fareed Elhaj, M.D. and Medhavi Jogi, M.D.

were physicians that were acting as agents and/or representatives of Defendant Houston Thyroid

& Endocrine Specialists when committing the misconduct described herein. Each of these

Defendants received illegal kickbacks from the ISD that included free collection services, billing

services, interpreters, and scheduling services. See, e.g., Exh. 11, pp. 35-36 (reflecting

complimentary collection by the ISD of a bill for two international patients referred by the ISD to

Houston Thyroid & Endocrine Specialists, for three charges totaling $1,894.72, that were

disbursed by the ISD to Houston Thyroid & Endocrine Specialists on 4/12/16); Exh. 13, p. 17

(reflecting complimentary billing by the ISD to the Embassy of the United Arab Emirates on behalf

of Houston Thyroid & Endocrine Specialists for services totaling $1200 billed on behalf of an

international patient referred by the ISD to Houston Thyroid & Endocrine Specialists); Exh. 7, pp.

60 (reflecting that the ISD provided a complimentary interpreter in Arabic, Ahmed Fadel, to Dr.

Elhaj on 5/17/16 at 3:45pm at 6624 Fannin Street, Suite 2260, in Houston, Texas, for an

international patient referred by the ISD to Dr. Elhaj for an evaluation); id., pp. 69 (reflecting that

the ISD provided a complimentary interpreter in Arabic, Interpreter Hossam, to Dr. Elhaj on

5/15/16 at 4:30pm, at 6624 Fannin Street, Suite 2260, in Houston, Texas, for an international



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patient referred by the ISD to Dr. Elhaj for an evaluation); Exh. 7, pp. 21, 22, 23, 39, 41, 60

(reflecting additional complimentary interpreters provided by the ISD to Dr. Elhaj and Dr. Jogi at

6624 Fannin, Suite 2260, in Houston, Texas, and through language line phone services, to facilitate

appointments with international patients referred by the ISD); Exh. 6, p. 11 (reflecting an

international patient from Qatar referred by the ISD to Dr. Jogi for an evaluation on 11/15/16 at

1:00pm, for which the ISD also provided a complimentary interpreter and complimentary

appointment reminder services); Paragraph 240, below (reflecting details of request by Dr. Jogi to

the ISD for scheduling assistance for international patient P.M.).

       24.     At the relevant times, Defendant Leachman Cardiology Associates was a Texas

corporation and/or private medical practice doing business in the Greater Houston area that

provides cardiology services, and Defendants Zvonimir Krajcer, M.D., Dewitt Leachman, M.D.,

and Alberto Lopez, M.D., were physicians that were acting as agents and/or representatives of

Defendant Leachman Cardiology Associates when committing the misconduct described herein.

Each of these Defendants received illegal kickbacks from the ISD that included free collection

services, interpreters, and scheduling services. See, e.g., Exh. 11, pp. 21-24 (reflecting free

collection by the ISD of a bill for four international patients referred by the ISD to Leachman

Cardiology Associates, for four charges totaling $2,488.00, that were disbursed by the ISD to

Leachman Cardiology Associates on 2/25/16); Exh. 13, pp. 2 (reflecting free collection by the ISD

of six different charges billed by the ISD on behalf of Leachman Cardiology Associates for

international patients referred by the ISD to Leachman Cardiology Associates; the charges,

reflecting unique identification numbers, were in various bill-collection statuses including “pre-

payment,” “insurance,” and “adjusted closed bill”); Exh. 13, pp. 19 (international patient referred

by the ISD to Leachman Cardiology Associates); Exh. 7, pp. 73 (reflecting that the ISD provided



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a complimentary interpreter in Arabic, Interpreter Alexandra, to Dr. Krajcer on 9/20/16 at 1:00pm,

at 6624 Fannin Street, at the ISD’s International Patient Center, in Houston, Texas, to facilitate an

evaluation of an international patient from the United Arab Emirates referred by the ISD to Dr.

Krajcer); id. at 74 (reflecting that the ISD provided a complimentary interpreter in Arabic,

Interpreter Alexandra, to Dr. Krajcer on 9/21/16 at 2:00pm, at 6624 Fannin Street, Suite 2780, in

Houston, Texas, to facilitate an evaluation for an international patient from the United Arab

Emirates referred by the ISD to Dr. Krajcer); id. at 75 (reflecting that the ISD provided a

complimentary interpreter in Arabic, Interpreter Ihab, to Dr. Krajcer on 9/26/16 at 9:30am, at 6624

Fannin Street, Suite 2780, in Houston, Texas, to facilitate an evaluation for an international patient

from the United Arab Emirates referred by the ISD to Dr. Krajcer); id. at 81 (reflecting that the

ISD provided a complimentary interpreter in Arabic, Interpreter Hossam, to Dr. Krajcer on

10/17/16 at 12:15pm, at 6624 Fannin Street, Suite 2780, in Houston, Texas, to facilitate an

evaluation for an international patient from the United Arab Emirates referred by the ISD to Dr.

Krajcer); Exh. 5, p. 6 (reflecting more information about the previous 10/17/16 appointment); Exh.

7 at 82 (reflecting that the ISD provided a complimentary interpreter in Arabic, Interpreter

Alexandra, to Dr. Lopez on 10/17/16 at 1:00pm, at 6624 Fannin Street, Suite 2780, in Houston,

Texas, to facilitate an evaluation for an international patient from the United Arab Emirates

referred by the ISD to Dr. Lopez); Exh. 7 at 76 (reflecting that the ISD provided a complimentary

interpreter in Arabic, Interpreter Alexandra, to Dr. Lopez on 9/27/16 at 11:30am, at 6624 Fannin

Street, Suite 2780, in Houston, Texas, to facilitate an evaluation for an international patient from

the United Arab Emirates referred by the ISD to Dr. Lopez); Exh. 6 at 6-7 (reflecting

complimentary interpreters and appointment reminders provided for the patient seen by Dr. Lopez

on 9/29/16 in the previous parenthetical); Paragraph 214, below (discussing free interpreter



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services provided by the ISD for Dr. Krajcer); Paragraphs 259-267, below (discussing free

international travel perks provided to Dr. Krajcer by the ISD); Paragraph 163, below (Defendants

Krajcer, Leachman, and Lopez were on the ISD’s referral roster).

        25.     At the relevant times, Defendant Alan Hoffman, M.D., was a physician providing

primary care and internal medicine services in the Houston area. Defendant Hoffman received

illegal kickbacks from the ISD that included lucrative referrals of international patients;

complimentary scheduling, billing, collection, and interpreter services; and free international travel

perks. See, e.g., Exh. 9 (thirty-five pages of records, reflecting the dates, times, and medical service

associated with hundreds of appointments scheduled by the ISD on a complimentary basis for Dr.

Hoffman with international patients referred to Dr. Hoffman by the ISD); Exh. 6 at 3 (reflecting

international patients from the United Arab Emirates and Honduras referred by the ISD to Dr.

Hoffman for appointments on 8/23/16, for which the ISD also provided complimentary interpreters

and complimentary appointment reminders); Exh. 6 at 11 (reflecting referral by the ISD of

international patient from the United Arab Emirates to Dr. Hoffman for an appointment on

11/15/16, for which the ISD also provided a complimentary interpreter and complimentary

appointment reminder services); Exh. 11 at 17-18 (reflecting free collection by the ISD of bills for

six international patients referred by the ISD to Dr. Hoffman, for six charges totaling $4,992 that

were disbursed by the ISD to Dr. Hoffman on 2/25/16); Exh. 11 at 19-20 (reflecting free collection

by the ISD of bills for one international patient referred by ISD to Dr. Hoffman, for a charge

totaling $1,300 that was disbursed by the ISD to Dr. Hoffman on 4/6/16); Exh. 13 at 9 (reflecting

free billing by the ISD to the Embassy of the United Arab Emirates on behalf of Dr. Hoffman for

services billed on behalf of an international patient referred by the ISD to Dr. Hoffman); Exh. 13

at 16 (reflecting free billing by the ISD to the Embassy of the United Arab Emirates on behalf of



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Dr. Hoffman for services totaling $110 billed on behalf of an international patient referred by the

ISD to Dr. Hoffman); Exh. 5 at 11-12 (reflecting complimentary interpreter provided by the ISD

on 11/17/16 to Dr. Hoffman for an international patient referred by the ISD to Dr. Hoffman);

Paragraphs 259-267, below (discussing international travel perks provided to Dr. Hoffman by the

ISD); Paragraph 163, below (Defendant Hoffman was on the ISD’s referral roster).

       26.     At the relevant times, Defendant Texas Endocrinology Group was a Texas

corporation and/or private medical practice doing business in the Greater Houston area whose

services include endocrinology services, and Defendant Cristina Boccalandro, M.D. was a

physician that was acting as an agent and/or representative of Defendant Texas Endocrinology

Group when committing the misconduct described herein. Defendants Texas Endocrinology

Group and Boccalandro received illegal kickbacks from the ISD that included lucrative

international patient referrals and complimentary interpreters. See Exh. 7 at 4 (reflecting that ISD

provided a complimentary interpreter to Dr. Boccalandro on 7/8/14 at 10:00 am for an international

patient from Qatar referred by the ISD to Dr. Boccalandro for an evaluation); Exh. 7 at 9-10;

(reflecting that ISD provided complimentary interpreters to Dr. Boccalandro on 8/8/14 at 8:00 am

and at 2:00 pm for international patients from Saudi Arabia and Oman respectively, referred by

the ISD to Dr. Boccalandro for evaluations); Exh. 7 at 13 (reflecting that ISD provided a

complimentary interpreter to Dr. Boccalandro on 3/4/15 at 2:30 pm for an international patient

from Kuwait referred by the ISD to Dr. Boccalandro for an evaluation); Exh. 7 at 34-35, 37

(reflecting that the ISD provided a complimentary interpreter to Dr. Boccalandro from Language

Line Co. for evaluations of international patients referred to Dr. Boccalandro by the ISD); Exh. 7

at 56 (reflecting that ISD provided a complimentary interpreter to Dr. Boccalandro on 3/29/16 at

3:00 pm at 6624 Fannin St., Suite 2380 in Houston, TX for an international patient from Saudi



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Arabia referred by the ISD to Dr. Boccalandro for an evaluation); Exh. 7 at 67 (reflecting that the

ISD provided a complimentary interpreter to Dr. Boccalandro on 6/9/16 at 3:25 pm at 6624 Fannin

St., Suite 2380 in Houston, TX for an international patient from Kuwait referred by the ISD to Dr.

Boccalandro for an evaluation); Exh. 7 at 71 (reflecting that ISD provided a complimentary

interpreter from Universal Medical Services to Dr. Boccalandro on 8/15/16 at 1:00 pm at OQMT,

6624 Fannin St., Suite 140 in Houston, TX for an international patient from Kuwait referred by

the ISD to Dr. Boccalandro for diabetes education); Exh. 7 at 85 (reflecting that ISD provided a

complimentary interpreter Dr. Boccalandro on 10/26/16 at 1:00 pm at 6624 Fannin St., Suite 2380

in Houston, TX for an international patient from Kuwait referred by the ISD to Dr. Boccalandro

for an evaluation); see also Exh. 7 at 39-40 (reflecting that ISD provided additional complimentary

interpreters to Dr. Boccalandro from Language Line Co. for evaluations); Paragraph 163, below

(Defendant Boccalandro was on the ISD’s referral roster).

       27.     At the relevant times, Defendant Bone and Joint Clinic of Houston was a Texas

corporation and/or private medical practice doing business in the Greater Houston area provides

orthopedic medical services and acted through agents and/or representatives including Dr. William

Watters. Defendant Bone and Joint Clinic of Houston received illegal kickbacks from the ISD that

included lucrative international patient referrals, free collection services, interpreters, and

scheduling services. See Exh. 11, pp. 29-30 (reflecting free collection by the ISD of a bill for an

international patient referred by the ISD to Bone and Joint Clinic of Houston, for a charge of

$927.00, that was disbursed by the ISD to Bone and Joint Clinic of Houston on 2/25/16); Exh. 13,

pp. 4 (reflecting free collection and disbursement by the ISD to the Bone and Joint Clinic of

Houston of a check billed by the ISD on behalf of the Bone and Joint Clinic of Houston for an

international patient referred to the Bone and Joint Clinic of Houston by the ISD); see also



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Paragraphs 163, 182, below (during relevant time periods, eight of the ten orthopedic physicians

on the ISD’s referral roster were agents and representatives of the Bone and Joint Clinic of

Houston, including Dr. Watters); Paragraph 183, below (discussing referral by the Bone and Joint

Clinic of Houston, through physician Dr. William Watters, of Medicare patient W.P. to Defendant

CHI-St. Luke’s Health for pre-surgical testing on October 17, 2015, and an orthopedic surgery on

October 24, 2015 at BSLMC).

       28.     At the relevant times, Defendant Pulmonary Critical Care & Sleep Medicine

Consultants was a Texas corporation and/or private medical practice doing business in the Greater

Houston area whose services include treatment of lung and sleep disorders, and Defendants Jose

Fernando Santacruz, M.D, Naveet Singh, M.D., Alberto Colomer, M.D., and Carl Dahlberg, M.D.,

are physicians that were acting as agents and/or representatives of Defendant Pulmonary Critical

Care & Sleep Medicine Consultants when committing the misconduct described herein. Each of

these Defendants received illegal kickbacks from the ISD that included lucrative international

patient referrals and free collection services, interpreters, and scheduling services. See, e.g., Exh.

11, pp. 25-26 (reflecting free collection by the ISD of a bill for two international patients referred

by the ISD to Pulmonary Critical Care & Sleep Medicine Consultants, for two charges totaling

$2,370.00, that were disbursed by the ISD to Pulmonary Critical Care & Sleep Medicine

Consultants on 2/25/16); Exh. 11, pp. 33-34 (reflecting free collection by the ISD of a bill for two

international patients referred by the ISD to Pulmonary Critical Care & Sleep Medicine

Consultants, for two charges totaling $2,658.00, that were disbursed by the ISD to Pulmonary

Critical Care & Sleep Medicine Consultants on 4/5/16); Exh. 7, at 4 (reflecting that the ISD

provided a complimentary interpreter to Dr. Santacruz on 5/20/14 at 2:30pm, at 6560 Fannin

Street, Suite 1760, in Houston, Texas, for an international patient from Saudi Arabia referred by



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the ISD to Dr. Santacruz for an evaluation); Exh. 7, at 12 (reflecting that the ISD provided a

complimentary interpreter to Dr. Santacruz on 2/17/15 at 1:30pm, at O’Quinn Medical Tower,

Suite 1730, in Houston, Texas, for an international patient from Qatar referred by the ISD to Dr.

Santacruz and Pulmonary Critical Care & Sleep Medicine Consultants for an evaluation); Exh. 6,

pp. 6-7 (reflecting complimentary interpreters and appointment reminders provided for

international patient from Venezuela referred by the ISD to Dr. Santacruz and seen by Dr.

Santacruz on 9/27/16 at 10:30am); Exh. 7 at 84 (reflecting that the ISD provided a complimentary

interpreter to Dr. Singh on 10/24/16 at 10:00 am for an international patient from Saudi Arabia

referred by the ISD to Dr. Singh for an evaluation); Exh. 7 at 19, 37 (reflecting that the ISD

provided complimentary interpreters to Dr. Singh at 6550 Fannin St., Suite 2137, and through a

language line); Exh. 13, at 9 (reflecting the ISD’s efforts to collect payments on 1/29/14 of $3,436

billed by Pulmonary Critical Care & Sleep Medicine Consultants to an international patient

referred by the ISD to Pulmonary Critical Care & Sleep Medicine Consultants). The ISD also

provided a complimentary interpreter to Defendant Colomer for an appointment with international

patient G.N. on 2/15/17. See also Paragraph 257, below, reflecting details of complimentary bill

payment and collection services provided to Dr. Dahlberg, Dr. Manion, and Dr. Connolly of

Pulmonary Critical Care & Sleep Medicine Consultants); Paragraph 198, below, discussing the

ISD’s lucrative international referrals to Dr. Santacruz); Paragraph 163, below (Defendants Singh,

Colomer, Santacruz, and Dahlberg were on the ISD’s referral roster).

       29.     At the relevant times, Defendant Greater Houston Gastroenterology was a Texas

corporation and/or private medical practice doing business in the Greater Houston area, that

provided gastroenterology services, and Defendant Dr. Isaac Raijman was a physician that was an

agent and/or representative of Greater Houston Gastroenterology. Dr. Raijman and Greater



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Houston Gastroenterology received illegal kickbacks from the ISD that included lucrative

international patient referrals. For example, the ISD referred international patient A.A. to Dr.

Raijman for an appointment with Dr. Raijman on 2/13/17 and referred international patient C.O.

for an appointment with Dr. Raijman on 2/17/17. See also Paragraph 156, below (describing the

ISD’s referrals to Dr. Raijman to “keep him happy”); Paragraph 163, below (Defendant Raijman

was on the ISD’s referral roster).

       30.     At the relevant times, Defendant Kidney Associates was a Texas corporation and/or

private medical practice doing business in the Greater Houston area, that provides nephrology care.

Defendant Kidney Associates received illegal kickbacks from the ISD that included lucrative

international patient referrals and complimentary billing and collection services. See, e.g., Exh. 11

at 37-38 (reflecting free collection services provided by the ISD to Kidney Associates of a bill for

three international patients referred by the ISD to Kidney Associates, for three charges totaling

$1,317.09, payment of which was disbursed by the ISD to Kidney Associates on 2/25/16).

       31.     At the relevant times, Defendant Kidney and Hypertension Consultants was a Texas

corporation and/or private medical practice doing business in the Greater Houston area, that

provides care for kidney disease and hypertension. Defendant Kidney and Hypertension

Consultants received illegal kickbacks from the ISD that included lucrative international patient

referrals and complimentary collection services. See, e.g., Exh. 2, p. 4 (reflecting free collection

by the ISD of a bill for an international patient referred by the ISD to Kidney and Hypertension

Consultants, for a charge totaling $29,110.00, payment of which was disbursed by the ISD to

Kidney and Hypertension Consultants on 4/6/16).

       32.     At the relevant times, Defendant Surgical Associates of Texas was a Texas

corporation and/or private medical practice doing business in the Greater Houston area, whose



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services included surgical services, and Defendant James Livesay, M.D., was a physician

providing thoracic surgery and related medical services that was acting as an agent and

representative of Surgical Associates of Texas when committing the misconduct described herein.

Defendants Surgical Associates of Texas and Livesay received illegal kickbacks from the ISD that

included lucrative international patient referrals, complimentary interpreters, and complimentary

billing and collection services. See, e.g., Exh. 6 at 9 (reflecting that the ISD referred an

international patient from the United Arab Emirates to Dr. Livesay for an evaluation on 10/4/16 at

1:00pm, for which the ISD also provided a complimentary interpreter and complimentary

appointment reminder services); Exh. 11 at 27-28 (reflecting free collection by the ISD of a bill

for an international patient referred by the ISD to Surgical Associates of Texas, for a charge

totaling $70.00, payment of which was disbursed by the ISD to Surgical Associates of Texas on

2/25/16). Dr. Livesay also received illegal remuneration from the ISD in his separate role working

for the Texas Heart Institute. See, e.g., Exh. 7 at 78 (reflecting that the ISD provided a

complimentary interpreter to Dr. Livesay on 10/4/16 at 1:00pm at the Texas Heart Institute for an

international patient from United Arab Emirates referred by the ISD to Dr. Livesay for an

evaluation); Exh. 7 at 33 (reflecting that the ISD provided a complimentary interpreter from

Language Line Co. to Dr. Livesay, for an international patient referred by the ISD to Dr. Livesay

for registration and an evaluation at the Texas Heart Institute); Paragraph 163, below (Defendant

Livesay was on the ISD’s referral roster).

       33.     At the relevant times, Defendant The Center for ENT was a Texas corporation

and/or private medical practices doing business in the Greater Houston area, that provided

otolaryngology services, and Defendants Richard Hung, M.D. and Ron Moses, M.D., were

physicians that were acting as agents and/or representatives of The Center for ENT when



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committing the misconduct alleged herein. These Defendants received illegal kickbacks from the

ISD that included lucrative international patient referrals and complimentary billing and

scheduling services. See, e.g., Exh. 11 at 53-56 (reflecting free collection by the ISD of bills for

an international patient referred by the ISD to The Center for ENT, for charges totaling $2,129.00,

payment of which was disbursed by the ISD to The Center for ENT on 2/25/16); Exh. 13 at 4

(reflecting free billing and collection by the ISD on behalf of The Center for ENT for services

billed on behalf of an international patient referred by the ISD to The Center for ENT, with a check

provided by ISD staff to The Center for ENT on 11/7/12); Paragraph 217, below, providing details

regarding a complimentary interpreter the ISD provided to Dr. Moses); Paragraph 163, below

(Defendants Hung and Moses were on the ISD’s referral roster).

       34.     At the relevant times, Defendant Apnix was a Texas corporation and/or private

medical practice doing business in the Greater Houston area, whose medical services include sleep

apnea diagnostics testing and treatment. Defendant Apnix received illegal kickbacks from the ISD

that included lucrative international patient referrals and complimentary billing and collection

services. See, e.g., Exh. 11 at 31-32 (reflecting free collection by the ISD of a bill for an

international patient referred by the ISD to Apnix, for a charge totaling $2,094.00, that was

disbursed by the ISD to Apnix on 4/12/16); Paragraph 251, below (reflecting additional free billing

and collection services by the ISD provided to Apnix).

       35.     At the relevant times, Defendant Andres Mesa, M.D., was a cardiologist that was

self-employed with an office at 888 Normandy Street in Houston, and at times, also worked for

Cardiology Associates at 6624 Fannin, Suite 2320, in Houston, and the Cardiovascular & Vein

Institute at 888 Normandy Street in Houston. Defendant Mesa received illegal kickbacks from the

ISD that included lucrative international patient referrals, complimentary billing and collection



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services, complimentary scheduling services, and complimentary interpreters. See, e.g., Exh. 11 at

39-40 (reflecting free collection by the ISD of a bill for two international patients referred by the

ISD to Dr. Mesa, for charges totaling $4,928.00, payment of which was disbursed by the ISD to

Dr. Mesa on 2/25/16); Exh. 6 at 3 (reflecting an international patient from Kuwait referred by the

ISD to Dr. Mesa for an evaluation on 8/23/16 at 9:00am, for which the ISD also provided a

complimentary interpreter and complimentary appointment reminder services); Paragraph 163,

below (Defendant Mesa was on the ISD’s referral roster).

       36.     At the relevant times, Defendant Lazaro Cherem, M.D., was a physician providing

nephrology and internal medicine services in the Houston area. Defendant Cherem received illegal

kickbacks from the ISD that included lucrative international patient referrals and complimentary

billing, collection, interpreter, and scheduling services. See, e.g., Exh. 11 at 4 (reflecting free

collection by the ISD of a bill for an international patient referred by the ISD to Dr. Cherem, for

charges totaling $800.00, payment of which was disbursed by the ISD to Dr. Cherem on 4/12/16);

Exh. 6 at 2-3 (reflecting the ISD’s referral of an international patient from the Cayman Islands to

Dr. Cherem for a bone density examination on 8/23/16 at 2:00pm, for which the ISD also provided

a complimentary interpreter and complimentary appointment reminder services); Paragraph 163,

below (Defendant Cherem was on the ISD’s referral roster).

       37.     At the relevant times, Defendant Brian Douglas, M.D., was a physician providing

gastroenterology services in the Houston area. Defendant Douglas received illegal kickbacks from

the ISD that included lucrative international patient referrals, complimentary interpreters, and

complimentary scheduling, billing, and collection services. See, e.g., Exh. 7 at 75 (reflecting that

the ISD provided a complimentary interpreter to Dr. Douglas on 9/26/16 at 4:00 pm at 6624 Fannin

St., Suite 2560 in Houston, TX for an international patient from Kuwait referred by the ISD to Dr.



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Douglas for an evaluation); Exh. 13 at 16 (reflecting free billing and collection by the ISD on

behalf of Dr. Douglas for services totaling $3,050 billed on behalf of an international patient

referred by the ISD to Dr. Douglas); Exh. 6 at 13 (reflecting an international patient from the

United Arab Emirates referred by the ISD to Dr. Douglas for an evaluation on 12/23/16 at 3:00pm,

for which the ISD also provided a complimentary interpreter and complimentary appointment

reminder services); Paragraph 163, below (Defendant Douglas was on the ISD’s referral roster).

       38.     At the relevant times, Defendant Irving Fishman, M.D., was a physician providing

urology services in the Houston area. Defendant Fishman received illegal kickbacks from the ISD

that included lucrative international patient referrals and complimentary interpreters. See, e.g.,

Exh. 5 at 2 (Update report indicating a complimentary interpreter provided by the ISD to Dr.

Fishman for an evaluation on 91/15/16 with an international patient referred by the ISD to Dr.

Fishman); Exh. 7 at 15 (reflecting that the ISD provided a complimentary interpreter to Dr.

Fishman at 6624 Fannin Street, Suite 2180, in Houston, Texas, for an international patient referred

by the ISD to Dr. Fishman); Exh. 7 at 57 (reflecting that the ISD provided a complimentary

interpreter to Dr. Fishman on 4/14/16 at 3:00 pm at 6624 Fannin Street, Suite 2180, in Houston,

Texas, for an international patient from Saudi Arabia referred by the ISD to Dr. Fishman); Exh. 7

at 73 (reflecting that the ISD provided a complimentary interpreter to Dr. Fishman on 9/20/16 at

10:00am at St. Luke’s Hospital (6720 Bertner Avenue), for an international patient from Kuwait

referred by the ISD to Dr. Fishman for surgery); Exh. 7 at 83 (reflecting that the ISD provided a

complimentary interpreter to Dr. Fishman on 10/19/16 at 6624 Fannin Street, Suite 2180, in

Houston, Texas, for an international patient from Kuwait referred by the ISD to Dr. Fishman for

an evaluation); Paragraph 163, below (Defendant Fishman was on the ISD’s referral roster).




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       39.     Defendant Baylor College of Medicine is a health sciences university located in the

Texas Medical Center in Houston, Texas, and Defendant Baylor College of Medicine Healthcare,

d/b/a Baylor MedCare (“MedCare”) is a Texas corporation that has as its sole member Baylor

College of Medicine. MedCare was formed in 1994 by Baylor College of Medicine to centralize

the professional practices of the physicians within the academic departments of Baylor College of

Medicine who see patients in private settings. Defendant Baylor College of Medicine is also part

owner of the Baylor St. Luke’s Medical Center. At the relevant times, Defendant Marcia Katz,

M.D. and Ramachandra Sista, M.D., were physicians that were acting as agents and/or

representatives of Defendants MedCare and Baylor College of Medicine in committing the

misconduct alleged herein. Defendants Baylor College of Medicine, MedCare, Dr. Katz, and Dr.

Sista each received illegal kickbacks from the ISD that included lucrative international patient

referrals, complimentary interpreters, and complimentary billing and collection services. See, e.g.,

Exh. 7 at 70 (reflecting that the ISD provided a complimentary interpreter to Dr. Katz on 6/22/16

at 4:30 pm at 6620 Main St., Suite 1225, in Houston, Texas, for an international patient from Qatar

referred by the ISD to Dr. Katz for an evaluation); id. at 52 (reflecting that the ISD provided a

complimentary interpreter by Language Line Co. to Defendant Baylor College of Medicine and/or

MedCare on 3/9/16 at 9:30am at 6620 Main St., Suite 1450, in Houston, Texas, for a Mandarin-

speaking international patient referred by the ISD for a hepatology evaluation); id. at 56 (reflecting

that the ISD provided a complimentary interpretation by Aala Ibrahim to Defendant Baylor

College of Medicine and/or MedCare on 3/29/16 at 11:00am at 6620 Main St., Suite 1320, in

Houston, Texas, for an Arabic-speaking international patient from the United Arab Emirates

referred by the ISD to Defendant Baylor College of Medicine for an evaluation); id. at 57

(reflecting that the ISD provided a complimentary interpretation by Interpreter Alexandra to



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Defendant Baylor College of Medicine and/or MedCare on 04/14/16 at 10:45a.m. at 6620 Main

St., Suite 1450, in Houston, Texas, for an Arabic-speaking international patient from Saudi Arabia

referred by the ISD to Defendant Baylor College of Medicine for an evaluation); id. at 58

(reflecting that the ISD provided a complimentary interpretation by Interpreter Aala Ibrahim to

Defendant Baylor College of Medicine and/or MedCare on 04/20/16 at 3:30p.m. at 6620 Main St.,

Suite 1350, in Houston, Texas, for an Arabic-speaking international patient from Qatar referred by

the ISD to Defendant Baylor College of Medicine for an evaluation); id. at 61 (reflecting that the

ISD provided a complimentary interpretation by Interpreter Aala Ibrahim to Defendant Baylor

College of Medicine and/or MedCare on 3/29/16 at 11:00am at 6620 Main St., Suite 1320, in

Houston, Texas, for an Arabic-speaking international patient from the United Arab Emirates

referred by the ISD to Defendant Baylor College of Medicine for an evaluation); Exh. 7 at 61

(reflecting two additional instances in which the ISD provided complimentary interpreters to

Defendants Baylor College of Medicine and/or Medcare); Paragraph 250, below (reflecting the

details of the ISD billing nine international patients $138,320.99 on behalf of MedCare and

collecting that sum on behalf of MedCare); Exh. 13 at 19 (reflecting free billing and collection

services provided by the ISD on 1/29/14 on behalf of Defendant MedCare to collect $1,398 in

services billed on behalf of an international patient referred by the ISD to MedCare); Exh. 5 at 3

(reflecting that the ISD provided a complimentary interpreter on 9/19/16 at the Baylor College of

Medicine for physician Dr. Zhang, who is an agent or representative of Defendants Baylor College

of Medicine and MedCare); id. at 5, 8, 10 (reflecting similar complimentary interpreters provided

to Defendants Baylor College of Medicine and/or MedCare, or their agents or representatives);

Paragraph 163, below (Dr. Katz, and Dr. Sista were on the ISD’s referral roster).




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       40.     Each of the Defendant Referring Physicians accepted patients that were

beneficiaries of federal health care programs (Medicare and/or Medicaid).

       41.     Each of the Defendant Referring Physicians billed and received money from the

government for services to Medicare and/or Medicaid beneficiaries.

       42.     Each of the Defendant Referring Physicians regularly chose to refer their patients,

including their Medicare and/or Medicaid patients, to the Hospital Defendants, for inpatient or

outpatient services at BSLMC. They referred such patients to BSLMC for testing; selected

BSLMC as the hospital at which they would perform their own procedures on such patients,

generating claims and billings for the Hospital Defendants; and/or referred such patients to

BSLMC for other medical services. For example, Defendant Bone and Joint Clinic referred a

Medicare patient to the Hospital Defendants for testing and surgery at BSLMC as set forth in more

detail in paragraph 183, below.

                          FEDERAL JURISDICTION AND VENUE

       43.     The acts proscribed by 31 U.S.C. § 3729 et seq. and complained of herein occurred

in part in the Southern District of Texas, and Defendants do business in the Southern District of

Texas. Therefore, this Court has jurisdiction over this case under 31 U.S.C. § 3732(a), as well as

under 28 U.S.C. § 1345. This Court has jurisdiction over this case for the claims brought on behalf

of the states pursuant to 31 U.S.C. § 3732(b), inasmuch as recovery is sought on behalf of said

states which arises from the same transactions and occurrences as the claim brought on behalf of

the United States.

       44.     Venue is proper in this District under 28 U.S.C. § 1391 (b) and (c) and 31 U.S.C. §

3732 because Defendants do business in this District and the events and/or transactions giving rise

to the claims asserted in this complaint occurred in this District.



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       45.     The facts and circumstances which give rise to Defendants’ violation of the False

Claims Act have not been publicly disclosed in a criminal, civil, or administrative hearing, nor in

any congressional, administrative, or General Accounting Office report, hearing, audit, or

investigation, nor in the news media.

       46.     Relator is the original source of the information upon which this complaint is based,

as that phrase is used in the False Claims Act and other laws at issue herein.

       47.     Relator brings this action based on his direct knowledge and, where indicated, on

information and belief. None of the actionable allegations set forth in this Complaint are based on

a public disclosure as set forth in 31 U.S.C. § 3730(3)(4), and Relator is an original source of the

facts alleged in this Complaint.

       48.     At all times, Defendants acted through their agents and/or employees, and the acts

of Defendants’ agents and/or employees were within the scope of their agency and/or employment.

The policies and practices alleged in this Complaint were, on information and belief, established

and/or ratified at the highest corporate levels of Defendants.

                   STATUTORY AND REGULATORY BACKGROUND

                              The Federal Anti-Kickback Statute

       49.     Paying or accepting remuneration for arranging for care under federally funded

healthcare programs is expressly prohibited by the Medicare and Medicaid Protection Act, 42

U.S.C. § 1320a-7b(b) (“Anti-Kickback Statute” or “AKS”).

       50.     Participation in Medicare is conditioned on compliance with the AKS. Thus, claims

submitted by a noncompliant hospital that is paying illegal remuneration in violation of the AKS

are false claims which are actionable under the FCA.




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       51.      The AKS prohibits any person or entity from offering, paying, soliciting, making

or accepting payments to induce or reward any person for referring, recommending, or arranging

for federally-funded medical services, including services provided pursuant to the Medicare and

Medicaid programs.

       52.      In pertinent part, the AKS states:

       (b) Illegal remunerations

             (1) Whoever knowingly and willfully solicits or receives any
                 remuneration (including any kickback, bribe, or rebate) directly or
                 indirectly, overtly or covertly, in cash or in kind—

                    (A) in return for referring an individual to a person for the
                    furnishing or arranging for the furnishing of any item or service
                    for which payment may be made in whole or in part under a
                    Federal health care program, or

                    (B) in return for purchasing, leasing, ordering, or arranging for
                    or recommending purchasing, leasing, or ordering any good,
                    facility, service, or item for which payment may be made in
                    whole or in part under a Federal health care program, shall be
                    guilty of a felony and upon conviction thereof, shall be fined not
                    more than $25,000 or imprisoned for not more than five years,
                    or both.

             (2) Whoever knowingly and willfully offers or pays any remuneration
                 (including any kickback, bribe, or rebate) directly or indirectly,
                 overtly or covertly, in cash or in kind to any person to induce such
                 person—

                    (A) to refer an individual to a person for the furnishing or
                    arranging for the furnishing of any item or service for which
                    payment may be made in whole or in part under a Federal health
                    care program, or

                    (B) to purchase, lease, order, or arrange for or recommend
                    purchasing, leasing, or ordering any good, facility, service, or
                    item for which payment may be made in whole or in part under
                    a Federal health care program, shall be guilty of a felony and
                    upon conviction thereof, shall be fined not more than $25,000 or
                    imprisoned for not more than five years, or both.



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42 U.S.C. § 1320a-7b(b).

       53.     The United States Department of Health and Human Services Office of Inspector

General (“HHS-OIG”) has promulgated “safe harbor” regulations that identify payment practices

that are not subject to the AKS because such practices are unlikely to result in fraud or abuse. 42

C.F.R. § 1001.952. Safe harbor protection is afforded only to those arrangements that meet all of

the specific conditions set forth in the safe harbor. 42 C.F.R. § 1001.952(d) (2000) (Payments to a

physician under a personal service agreement must be “set in advance, [must be]…consistent with

fair market value in arms-length transactions and [must]…not [be] determined in a manner that

takes into account the volume or value of any referrals or business otherwise generated between

the parties for which payment may be made in whole or in part under Medicare or a State health

care program”). Defendants’ conduct does not fall within any safe harbor.

       54.     The AKS arose out of congressional concern that payments to those who can steer

or direct patients or otherwise influence healthcare decisions, such as the Defendant private

practices and/or doctors here, could result in goods and services being provided that are medically

unnecessary, too costly, of poor quality, or even harmful to a vulnerable patient population. The

AKS was partially based on studies demonstrating that physicians, even those intending to act in

good faith, were likely to refer significantly more patients when there is a financial incentive to

generate business.

       55.     To protect the integrity of federal Healthcare Programs (i.e., Medicare and

Medicaid) from these difficult to detect harms, and realizing the difficulty for regulators and law

enforcement to review medical necessity in every case, Congress enacted a per se prohibition

against the payment of kickbacks in any form, regardless of whether the particular kickback gave

rise to overutilization of federal healthcare services or to poor quality of care. First enacted in



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1972, Congress strengthened the AKS in 1977 and 1987 to ensure that kickbacks masquerading as

legitimate transactions did not evade the statute’s reach. See Social Security Amendments of 1972,

Pub. L. No. 92-603, §§ 242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare-Medicaid Antifraud and

Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid Patient and Program Protection

Act of 1987, Pub. L. No. 100-93.

       56.     As such, “[i]f any one purpose of remuneration is to induce or reward referrals of

federal healthcare program business, the [Anti-Kickback] statute is violated.” 66 Fed. Reg. 919

(citing United States v. Kats, 871 F.2d 105 (9th Cir. 1989); United States v. Greber, 760 F.2d 68

(3rd Cir. 1985)). In other words, even if payments were made both for a legitimate purpose and to

induce referrals or otherwise maintain a physician’s business, this arrangement would still violate

the AKS. Id. Indeed, under the AKS, any time any form of remuneration is exchanged between

referral sources (i.e., the Defendant private practices and/or doctors) and a provider of health care

services to a federal health care program (i.e., Defendant CHI-St. Luke’s Health), the arrangement

must be highly scrutinized because private physicians are the primary source of referrals of patients

to hospitals. See generally, HHS-OIG, Supplemental Compliance Program Guidance for

Hospitals, 70 Fed. Reg. 4858.

       57.     Violation of the AKS may subject the perpetrator to exclusion from participation

in federal Healthcare Programs, civil monetary penalties of $50,000 per violation, and three times

the amount of remuneration paid, regardless of whether any part of the remuneration is a for a

legitimate purpose. 42 U.S.C. § 1320-7(b)(7) and 42 U.S.C. §1320a-7a(a)(7).

                                     The Federal Stark Law

       58.     The federal Stark Law “was enacted to address overutilization, anti-competitive

behavior, and other abuses of health care services that occur when physicians have financial



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relationships with certain ancillary service entities to which they refer Medicare or Medicaid

patients.” 69 Fed. Reg. 16123 (March 26, 2004). “Physician financial arrangements may have

some anti-competitive effects to the extent that those relationships discourage other providers from

entering a market in which patients are primarily referred to physician-owned entities or

[designated health services] (“DHS”) entities that maintain generous compensation arrangements

with physicians.” Id. “Anti-competitive behavior can increase program costs if the DHS entities

with which physicians have financial relationships are favored over other, more cost-efficient

providers or providers that furnish higher quality care.” Id. “Overutilization increases program

costs because Medicare (or Medicaid) pays for more items or services than are medically

necessary.” Id.

       59.        “The approach taken by Congress in enacting section 1877 of the Act is preventive

because it essentially prohibits many financial arrangements between physicians and entities

providing DHS.” 66 Fed. Reg. 859. “Specifically, Section 1877 of the Act imposes a blanket

prohibition on the submission of Medicare claims (and payment to the States of federal financial

participation under the Medicaid program) for certain DHS when the service provider has a

financial relationship with the referring physician, unless the financial relationship fits into one of

several relatively specific exceptions.” Id.

       60.        Congress enacted the Stark Law in two parts, commonly known as Stark I and Stark

II. Enacted in 1989, Stark I applied to referrals of Medicare patients for clinical laboratory services

made on or after January 1, 1992, by physicians with a prohibited financial relationship with the

clinical lab provider. See Omnibus Budget Reconciliation Act of 1989, P.L. 101-239, § 6204.

       61.        In 1993, Congress extended the Stark Law (Stark II) to referrals for ten additional

designated health services. See Omnibus Reconciliation Act of 1993, P.L. 103-66, § 13562; Social



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Security Act Amendments of 1994, P.L. 103-432, §152. As of January 1, 1995, Stark II applied to

patient referrals by physicians with a prohibited financial relationship for the following ten

additional “designated health services”: 1) inpatient and outpatient hospital services; 2) physical

therapy; 3) occupational therapy; 4) radiology; 5) radiation therapy (services and supplies); 6)

durable medical equipment and supplies; 7) parenteral and enteral nutrients, equipment and

supplies; 8) prosthetic, orthotics, and prosthetic devices and supplies; 9) outpatient prescription

drugs; and 10) home health services. See 42 U.S.C. § 1395nn(h)(6).

        62.     The Stark Law provides that if a physician has a financial relationship with a

hospital or entity, then:

                (A) The physician may not make a referral to the entity for the
                furnishing of designated health services for which payment
                otherwise may be made under this subchapter, and

                (B) the entity may not present or cause to be presented a claim under
                this subchapter or bill to any individual, third party payor, or other
                entity for designated health services furnished pursuant to a referral
                prohibited under sub paragraph (A).

42 U.S.C. § 1395nn(a)(1).

        63.     The Stark Law broadly defines prohibited “financial relationships” to include an

“ownership or investment interest” in an entity” or a “compensation arrangement” in which

“remuneration” is paid by a hospital to a referring physician “directly or indirectly, overtly or

covertly, in cash or in kind.” 42 U.S.C. § 1395nn(a)(2)(B), (h)(1); 42 C.F.R. § 411.354(c).

        64.     The Stark Law defines both “ownership or investment interest” and “compensation

arrangement” in broad terms: A prohibited ownership or investment interest “may be through

equity, debt, or other means and includes an interest in an entity that holds an ownership or

investment interest in any entity providing the designated health service.” 42 U.S.C. §

1995nn(a)(2)(B). A prohibited “compensation arrangement” is defined as “any arrangement

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involving any remuneration between a physician (or an immediate family member of such

physician) and an entity other than an arrangement involving only remuneration described in

subparagraph (C).” 42 U.S.C. § 1995nn(h)(1)(A). The term “remuneration” is similarly broad and

“includes any remuneration, directly or indirectly, overtly or covertly, in cash or in kind.” 42

U.S.C. §1995nn(h)(1) (B).

       65.     The Stark Law defines “referral” as “the request or establishment of a plan of care

by a physician which includes the provision of designated health services.” 42 U.S.C. §

1395nn(h)(5)(A). The accompanying regulations applying the Stark Law broadly define “referral”

as, among other things, “a request by a physician that includes the provision of any designated

health service for which payment may be made under Medicare, the establishment of a plan of

care by a physician that includes the provision of such a designated health service, or the certifying

or recertifying of the need for such a designated health service…” 42 U.S.C. § 411.351. A referring

physician is defined in the same regulation as “a physician who makes a referral as defined in this

section or who directs another person or entity to make a referral or who controls referrals made

to another person or entity.” Id.

       66.     In short, this language makes clear that Congress intended the definition of

“financial relationship” to include essentially any type of financial relationship in which physicians

receive any remuneration of any kind from a hospital, directly or indirectly, overtly or covertly,

and a “referral” as any request for the provision of a DHS where payment may be made under

Medicare or Medicaid.

       67.     In addition to prohibiting a hospital from submitting claims where it has a financial

relationship with a referring physician, the Stark Law also prohibits payments by federal

Healthcare Programs of such claims: “No payment may be made under this subchapter for a



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designated health service which is provided in violation of subsection (a)(1) of this section.” 42

U.S.C. § 1395nn(g)(1). If a hospital submits prohibited claims and collects payment, the

regulations implementing 42 U.S.C. § 1395nn require that any entity collecting payment for a

healthcare service “performed under a prohibited referral must refund all collected amounts on a

timely basis.” 42 C.F.R. § 411.353.

        68.    The Stark Law and the AKS are “complementary and although overlapping in some

aspects, not redundant.” 66 Fed. Reg. 863. “We believe the Congress intended to create an array

of fraud and abuse authorities to enable the government to protect the public fisc, beneficiaries of

federal programs, and honest health care providers from the corruption of the health care system

by unscrupulous providers.” Id. “Congress only intended [the Stark laws] to establish a minimum

threshold for acceptable financial relationships, and that potentially abusive financial relationships

that may be permitted under Section 1877 of the Act could still be addressed through other statutes

that address health care fraud and abuse, including the anti-kickback statute (Section 1128B(b) of

the Act).” 66 Federal Register 860. “In some instances, financial relationships that are permitted

under Section 1877 of the Act might merit prosecution under Section 1128B(b) of the Act.” Id.

“Conversely, conduct that may be proscribed by Section 1877 of the Act may not violate the anti-

kickback statute.” Id.

                               Government Healthcare Programs

        69.    Government Healthcare Programs cover the Hospital Defendants’ services. They

include, but are not limited to, the following programs.

I.      The Medicare Program

        70.    Medicare is a government financial health insurance program administered by the

Social Security Administration of the United States. Medicare was promulgated to provide



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payment for medical services, durable medical equipment and other related health items for

individuals 65 and over. Medicare also makes payment for certain health services provided to

needy classes of individual healthcare patients pursuant to federal regulation. In 1965, Congress

enacted the Health Insurance Program for the Aged and Disabled through Title XVIII of the Social

Security Act, 42 U.S.C. §§ 1395 et seq. (“Medicare”).

       71.       The Department of Health and Human Services (“HHS”) is responsible for the

administration and supervision of the Medicare Program. The Centers for Medicare and Medicaid

Services (“CMS”) is an agency of HHS and is directly responsible for the administration of the

Medicare program. Individuals who receive benefits under Medicare are referred to as Medicare

beneficiaries.

       72.       The Medicare Program is divided into four parts. Medicare Part A authorizes

payment for institutional care, including hospital, nursing facility, and home health care. See 42

U.S.C. §§ 1395c-1395i-4. Part B of the Medicare Program authorizes payment for outpatient health

care expenses, including physician services, diagnostic services, and radiology services. See 42

U.S.C. 1395-1395w-4.

       73.       Medicare enters into provider agreements with hospitals to establish the hospitals’

eligibility to participate in the Medicare Program. Under the Medicare Program, CMS makes

payments retrospectively to hospitals for inpatient services. Medicare does not prospectively

contract with hospitals to provide particular services for particular patients. Any benefits derived

from those services are derived solely by the patients and not by Medicare or by the United States.

       74.       Hospital providers who participate in Medicare must sign and submit to CMS an

application for participation in the Medicare program, otherwise known as a Hospital Insurance

Benefit Agreement (Form HCFA-1561). By signing and submitting this form, hospital providers



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agree to “conform to the provisions of Section 1866 of the Social Security Act and [the] applicable

provisions in 42 CFR, Parts 405, 466, 420, and 489.”

       75.     The Hospital Defendants, acting through their agents, employees, and

representatives, have executed and submitted to CMS one or more Hospital Insurance Benefit

Forms (Form HCFA-1561).

       76.     Providers who participate in Medicare must also sign and submit to CMS a

Medicare Enrollment Application for Institutional Providers (Form 855A). By signing and

submitting this form, hospital providers agree to abide by “Medicare laws, regulations, and

program instructions,” and expressly certify their understanding “that payment of a claim by

Medicare is conditioned upon the claim and the underlying transaction complying with such laws,

regulations, and program instructions (including, but not limited to, the federal anti-kickback

statute and the Stark laws)…” Id. The Enrollment Application also summarizes the False Claims

Act, explaining the penalties for falsifying information to “gain or maintain enrollment in the

Medicare program.” Id.

       77.     The Hospital Defendants, acting through their agents, employees, and

representatives, have executed and submitted to CMS at least one Medicare Enrollment

Application for Institutional Providers (Form 855A).

       78.     To assist in the administration of Medicare Part A, CMS contracts with “fiscal

intermediaries.” 42 U.S.C. § 1395h. Fiscal intermediaries, typically insurance companies, are

responsible for processing and paying claims and auditing cost reports.

       79.     Hospitals submit claims for interim reimbursement for items and services delivered

to Medicare beneficiaries during their hospital stays. 42 C.F.R. §§ 413.1, 413.60, 413.64. Hospitals

submit patient-specific claims for interim payments on a Form UB-92.



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       80.       As a condition of payment by Medicare, CMS requires hospitals to submit annually

a Form CMS-2552, more commonly known as the hospital cost report. A cost report is the final

claim that a provider submits to the fiscal intermediary for items and services rendered to Medicare

beneficiaries.

       81.       At the end of each hospital’s fiscal year, the hospital files its cost report with the

fiscal intermediary, stating the amount of reimbursement the provider believes it is due for the

year, See 42 U.S.C. § 1359g; 42 C.F.R. § 413.20. Medicare relies upon the cost report to determine

whether the provider is entitled to more reimbursement than already received through interim

payments, or whether the provider has been overpaid and must reimburse Medicare. 42 C.F.R. §§

405.1803, 413.60 and 413.64(f)(1).

       82.       Medicare payments for inpatient hospital services are determined by the claims

submitted by the provider for particular discharges (specifically listed on Form UB-92 or Form

UB-04 after March of 2007) during the course of the fiscal year. On the cost report, this Medicare

liability for services is then totaled with any other Medicare liabilities to the provider. This total

determines Medicare’s true liability for services rendered to Medicare beneficiaries during the

course of a fiscal year. From this sum, the payments made to the provider are subtracted to

determine the amount due Medicare or the amount due the provider.

       83.       At all times relevant to this Complaint, the Medicare Program, through its fiscal

intermediaries, had the right to audit the cost reports and financial representations made by the

hospital Defendants, including by CHI-St. Luke’s, to ensure their accuracy and protect the integrity

of the Medicare Program. This includes the right to adjust cost reports previously submitted by a

provider if any overpayments have been made. 42 C.F.R. § 413.64(f).




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        84.     Just as with Forms 1561 and 855A submitted to CMS, each cost report contains

mandatory certifications of compliance with the Stark and Anti-Kickback laws. This certification

must be signed by the chief administrator of the hospital provider or by a responsible designee of

the administrator.

        85.     The Hospital Defendants were required to submit hospital cost reports to their fiscal

intermediary for each Fiscal Year between 2007 and the present.

        86.     Each hospital cost report submitted by the Hospital Defendants included the

following notice: “Misrepresentation or falsification of any information contained in this cost

report may be punishable by criminal, civil, and administrative action, fine and/or imprisonment

under federal law. Furthermore, if services provided in this report were provided or procured

through the payment directly or indirectly of a kickback or where otherwise illegal, criminal,

civil and administrative action, fines and/or imprisonment may result.” (Emphasis added).

        87.     For each hospital cost report submitted by the Hospital Defendants, the chief

administrative officer or designee were required to certify that: “I have read the above

statement…and that I have examined the accompanying electronically filed or manually submitted

cost report…and that to the best of my knowledge and belief, it (the cost report) is a true, correct,

and complete statement prepared from the books and records of the provider in accordance with

applicable instructions, except as noted. I further certify that I am familiar with the laws and

regulations regarding the provision of health care services, and that the services identified in

this cost report were provided in compliance with such laws and regulations.” (Emphasis added).

        88.     In short, for each hospital cost report, the Hospital Defendants were required to

certify that their reports were (1) truthful, i.e., that the cost information contained in the report is

true and accurate; (2) correct, i.e., that the provider is entitled to reimbursement for the reported



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costs in accordance with applicable instructions; (3) complete, i.e., that the cost report is based

upon all knowledge known to the provider; (4) that the services in the cost report were not linked

to kickbacks; and (5) that the provider complied with laws and regulations regarding the provision

of health care services, such as the Stark and Anti-Kickback laws.

       89.     The Hospital Defendants were also required to disclose all known errors and

omissions in their claims for Medicare reimbursement including in any hospital cost reports

submitted to a fiscal intermediary. Indeed, 42 U.S.C. § 1320a-7b(a)(3) specifically confirms the

duty to disclose known errors in any hospital cost report: “Whoever…having knowledge of the

occurrence of any event affecting (A) his initial or continued right to any such benefit or

payment…conceals or fails to disclose such event with an intent fraudulently to secure such

benefits or payment either in a greater amount or quantity than is due or when no such benefit or

payment is authorized…shall in the case of such a…concealment or failure…be guilty of a felony.”

       90.     Once these cost reports (and the accompanying certifications) are submitted by a

hospital provider, CMS issues a Notice of Provider Reimbursement (NPR) based on the financial

data and certifications submitted in the cost reports. In accordance with 42 C.F.R. § 415.1885, a

cost report may be reopened even after the NPR has been issued for a number of reasons, including

for the provision of inaccurate cost report data or the submission of false claims.

       91.     Indeed, even after the submission of a cost report, hospital providers themselves

have an ongoing duty to request the reopening of previously submitted cost reports if those reports

are known to contain or to be based on false information submitted to federal healthcare programs

(i.e. Medicare or Medicaid).




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       92.     Private practitioners/physicians (including private practice groups) bill for services

provided to Medicare beneficiaries under Medicare Part B. In order to participate in and be

reimbursed by Medicare, these private practitioners/physicians must submit Form CMS-1500.

       93.     As with the various forms submitted by the hospital providers described above,

Form CMS-1500 requires the physician to certify that they are eligible for participation in the

Medicare Program, and that they have complied with all applicable regulations and law governing

Medicare, such as the Stark and Anti-Kickback laws: “I certify that: 1) the information on this

form is true, accurate, and complete; 2) I have familiarized myself with all applicable laws,

regulations, and program instructions, which are available from the Medicare contract; 3) I have

provided or will provide sufficient information required to allow the government to make an

informed eligibility and payment decision; and 4) this claim, whether submitted by me or on my

behalf by my designated billing company, complies with all applicable Medicare and/or Medicaid

laws, regulations, and program instructions for payment including but not limited to the federal

anti-kickback state and the Physician Self-Referral law (commonly known as the Stark Law)….”

       94.     The submission of CMS-1500 also requires the practitioner to certify that he or she

“understand(s) that payment and satisfaction of this claim will be from federal and State funds,

and that any false claims, statements, documents, or concealments of a material fact, may be

prosecuted under applicable federal or State laws.”

       95.     The Medicare Program uses the Medicare beneficiary data included in these

hospital cost reports and in the CMS-1500s submitted by private practitioners to determine the

payments due to each facility and/or private practitioner.

       96.     Defendants submitted claims to Medicare that were based in part on their Medicare

hospital cost reports and/or their CMS-1500, as well as their false certifications of compliance with



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federal Stark and Anti-Kickback Laws. The Medicare Program relied upon such certifications as

mandatory conditions of payment before paying such claims submitted by Defendants.

II.      The Medicaid Program

         97.    The federal government enacted the Medicaid program in 1965 as a cooperative

undertaking between the federal and state governments to help the states provide health care to

low-income individuals. The Medicaid program pays for services pursuant to plans developed by

the states and approved by the U.S. Department of Health and Human Services (“HHS”) Secretary

through CMS. See 42 U.S.C. §§ 1396a(a)-(b). States pay doctors, hospitals, pharmacies, and other

providers and suppliers of medical items and services according to established rates. See 42 U.S.C.

§§ 1396b(a)(1), 1903(a)(1). The federal government then pays each state a statutorily established

share of “the total amount expended ... as medical assistance under the State plan ...” See 42 U.S.C.

§1396b(a)(1). This federal-to-state payment is known as federal financial participation (“FFP”).

         98.    Medicaid is a public assistance program providing for payment of medical expenses

for approximately 55 million low-income patients. Funding for Medicaid is shared between the

federal government and state governments. The Medicaid program subsidizes the purchase of more

prescription drugs than any other program in the United States.

         99.    The federal Medicaid statute sets forth certain minimum requirements for state

Medicaid programs to qualify for federal funding, or the FFP. 42 U.S.C. §§1396, et seq. As part

of such minimum requirements, each state’s Medicaid program must cover hospital and physician

services. 42 U.S.C. § 1396(a)(1)-(2), (5).

         100.   The federal matching rate for the Texas Medicaid Program from 2007 through the

present was as follows: 2017 (56.18%); 2016 (57.13%); 2015 (58.05%); 2014 (58.69%); 2013




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(59.30%); 2012 (58.22%); 2011 (60.56%); 2010 (70.94%); 2009 (69.85%); 2008 (60.53%); 2007

(60.78%).

       101.    “Section 13624 of the Omnibus Budget Reconciliation Act of 1993, entitled

‘Application of Medicare Rules Limiting Certain Physician Referrals,’ extended aspects of the

Medicare prohibition on physician referrals to Medicaid.” 66 Fed. Reg. 857. “This provision bars

FFP in State expenditures for DHS furnished to an individual based on a physician referral that

would result in denial of payment for these services under the Medicare program if Medicare

covered the services to the same extent and under the same terms and conditions as under the State

Medicaid plan.” 66 Fed. Reg. 858. In other words, the same prohibitions on physician referrals in

exchange for illegal remuneration, including kickbacks, discussed above in the context of the

Medicare program also apply to Medicaid.

       102.    “The statute also made certain reporting requirements in section 1877(f) of the Act,

and the civil monetary penalty provision in section 1877(g)(5) (related to reporting requirements),

applicable to providers of DHS for which payment may be made under Medicaid in the same

manner as they apply to providers of such services for which payment may be made under

Medicare.” 66 Federal Register 858.

       103.    The Medical Assistance Program (“MAP”) was enacted in 1967 to implement

Medicaid within the state of Texas. TEX. HUM. RES. CODE §§ 32.001 et seq. The purpose of the

statute was to “provide medical assistance on behalf of needy individuals and enable the state to

obtain all benefits for those persons authorized under the Social Security Act or any other federal

act.” § 32.001.

       104.    A provider must file an enrollment application with the Texas Health and Human

Service Commission (“HHSC”) and the Texas Medicaid and Healthcare Partnership (“TMHP”) to



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participate in the Texas Medicaid program. 1 TEX. ADMIN. CODE § 352.5(a). The provider is

required to submit a new enrollment application every five years to continue its participation in

the Medicaid program. Id. at § 352.5(c).

       105.    The provider is required to “comply with all terms and conditions of the provider

agreement.” 1 TEX. ADMIN. CODE § 352.7(a)(8). The HHSC Medicaid Provider Agreement

(“Provider Agreement”) requires the provider to “comply with all of the requirements of the

Provider Manual, as well as all state and federal laws governing or regulating Medicaid.” See

HHSC Medicaid Provider Agreement, eff. July 1, 2017 at 3–1. Furthermore, the Provider

Agreement is “subject to all state and federal law and regulations relating to fraud, abuse and waste

in health care and the Medicaid program. Id.

       106.    Lastly, the Provider Agreement requires the provider to acknowledge and certify

its compliance with Medicaid rules and regulations, including the AKS and the Stark law:

               Provider agrees to abide by all Medicaid regulations, program
               instructions, and Title XIX of the Social Security Act. The Medicaid
               laws, regulations, and program instructions are available through the
               Medicaid contractor. Provider understands that payment of a
               claim by Medicaid is conditioned upon the claim and the
               underlying transaction complying with such laws, regulations,
               and program instructions (including, but not limited to, the
               Federal anti-kickback statute and the Stark law), and on the
               provider’s compliance with all applicable conditions of participation
               in Medicaid.

       See Provider Agreement at 3-7 (emphasis added).

       107.    In addition to the federal AKS, Texas has its own anti-kickback provision in MAP.

Pursuant to § 32.039(b), a provider commits a violation if it:

               (1) presents or causes to be presented to the commission a claim that
               contains a statement or representation the person knows or should
               know to be false;




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               (1-b) solicits or receives […] any remuneration, including kickback,
               bribe, or rebate […] for referring an individual to a person for the
               furnishing of […] any item or service for which payment may be
               made, in whole or in part, under [Medicaid];

               (1-c) solicits or receives […] any remuneration, including kickback,
               bribe, or rebate for purchasing, leasing, or ordering, or arranging for
               or recommending the purchasing, leasing or ordering, of any good
               facility, service, or item for which payment may be made by [under
               Medicaid];

               (1-d) offers or pays […]any remuneration, including kickback,
               bribe, or rebate […] to induce a person to refer an individual to
               another person for the furnishing of […] any item or service for
               which payment may be made [under Medicaid];

               (1-e) offers or pays […] any remuneration, including kickback,
               bribe, or rebate […] to induce a person to purchase, lease or order
               […] any good, facility, service, or item for which payment may be
               made [under Medicaid];

               (1-f) provides, offers, or receives an inducement […] to or from a
               person, including a recipient, provider employee or agent of
               provider, third-party vendor, or public servant, for the purpose of
               influencing or being influenced in a decision regarding (A) selection
               of a provider or receipt of a good or service [Medicaid]; (B) the use
               of goods or services [Medicaid]; (C) the inclusion or exclusion of
               goods or services under [Medicaid].

       § 32.039(b).

       108.    A provider who violates § 32.039(b) is liable for up to two-times the amount paid

as a result of the violation plus interest and a penalty between $5,000 and $10,000 per violation.

If the violation results in an injury the elderly, minors or a person with a disability, the penalty is

increased to $15,000 per violation. § 32.039(c).

       109.    In Texas, provider hospitals participating in the Medicaid Program file annual cost

reports with the state’s Medicaid agency, or its intermediary, in a protocol similar to that governing

the submission of hospital cost reports for providers participating in Medicare. Indeed, not only

must Medicaid providers incorporate the same type of financial data in their Medicaid hospital

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cost reports as contained in their Medicare hospital cost reports, but they must also certify the

accuracy of the information provided and certify compliance with Medicaid laws and regulations,

including compliance with the Stark and Anti-kickback laws.

       110.    The Texas Medicaid Program uses the Medicaid patient data included in these

hospital cost reports to determine the payments due to each facility.

       111.    The Hospital Defendants submitted claims to Medicaid that were based in part on

their Medicaid cost reports and their false certifications of compliance with federal Stark and Anti-

Kickback Laws. The Texas Medicaid Program relied upon such certifications as mandatory

conditions of payment before paying such claims submitted by the Hospital Defendants.

III.   Reimbursement Under Other Federal Healthcare Programs

       112.    The Civilian Health and Medical Program of the Uniformed Services, known as

TRICARE Management Activity/CHAMPUS (“TRICARE”), is a federal-funded program that

provides medical benefits, including hospital services, to certain relatives of active duty, deceased,

and retired service members or reservists, as well as to retirees. TRICARE sometimes provides for

hospital services at non-military facilities for active duty service members as well. 10 U.S.C. §§

1071-1110; 32 C.F.R. § 199.4(a).

       113.       In addition to individual patient costs, TRICARE pays hospitals for two types of

costs, both based on the Medicare cost-report: capital costs and direct medical education costs. 32

C.F.R. § 199.6.

       114.    A provider seeking reimbursement from TRICARE for these costs is required to

submit a TRICARE form, “Request for Reimbursement of CHAMPUS Capital and Direct Medical

Education Costs” (“Request for Reimbursement”), in which the provider sets forth the number of




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patient days and financial information related to these costs. These costs are derived from the

provider’s Medicare cost report.

       115.    The Request for Reimbursement requires that the provider certify that the

information contained therein is “accurate based upon the hospital’s Medicare cost report.”

       116.    Upon receipt of a provider’s Request for Reimbursement, TRICARE or its fiscal

intermediary applies a formula for reimbursement wherein the provider receives a percentage of

its capital and medical education costs equal to the percentage of TRICARE patients in the

hospital.

       117.    On information and belief, the Hospital Defendants submitted Requests for

Reimbursement to TRICARE that were based on their Medicare cost reports. Whenever the

Medicare cost reports for the Hospital Defendants contained false information or false

certifications from which they derived their Requests for Reimbursement submitted to TRICARE,

those Requests for Reimbursement were also false.

       118.    On each occasion that the Hospital Defendants’ Requests for Reimbursement were

false due to falsity in their Medicare cost reports, the Hospital Defendants certified that the

information contained in their Requests for Reimbursement were “accurate and based upon the

hospital’s Medicare cost report.”

       119.    The Hospital Defendants knew that false claims contained in their Medicare cost

reports would affect TRICARE/CHAMPUS payments as well and result in damages to the federal

government.

                                     The False Claims Act

       120.    The False Claims Act establishes liability, inter alia, for anyone who “knowingly

presents, or causes to be presented, to an officer or employee of the United States Government…a



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false or fraudulent claim for payment or approval,” 31 U.S.C. § 3729(a)(1)(A), or “knowingly

makes, uses, or causes to be made or used, a false record or statement material1 to a false or

fraudulent claim,” 31 U.S.C. § 3729(a)(1)(B), or “knowingly makes, uses, or causes to be made or

used, a false record or statement material to an obligation to pay or transmit money or property to

the Government, or knowingly conceals or knowingly and improperly avoids or decreases an

obligation2 to pay or transmit money or property to the Government.” 31 U.S.C. § 3729(a)(1)(G).

       121.    The False Claims Act defines “claim” to include “any request or demand, whether

under a contract or otherwise, for money or property and whether or not the United States has title

to the money or property, that…is presented to an officer, employee or agent of the United

States…or is made to a contractor, grantee or other recipient, if the money or property is to be

spent on the Government’s behalf or to advance a Government program, and if the United States

Government…provides or has provided any portion of the money or property requested or

demanded…or will reimburse such contractor, grantee, or other recipient for any portion of the

money or property which is requested or demanded.” 31 U.S.C. § 3729(b)(2).

       122.    Statutory liability under the False Claims Act includes a civil penalty “plus three

times the amount of damages which the Government sustains because of the act of that person.”

31 U.S.C. § 3729(a).

       123.    Under the federal False Claims Act, “’knowing’ and ‘knowingly’ mean that a

person, with respect to information (1) has actual knowledge of the information; (2) acts in




1
  “The term ‘material’ means having a natural tendency to influence, or be capable of influencing,
the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).
2
  The False Claims Act defines “obligation” as “an established duty, whether or not fixed, arising
from an express or implied contractual, grantor-grantee, or licensor-licensee relationship, for a fee-
based or similar relationship, from stature or regulation, or from the retention of any overpayment.”
31 U.S.C. § 3729(b)(3).
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deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of

the truth or falsity of the information, and require no proof of specific intent to defraud.” 31 U.S.C.

§ 3729(b)(1).

       124.     In considering the requisite scienter which subjects a defendant to liability under

the False Claims Act, “no proof of specific intent to defraud” is required. Id. Under the False

Claims Act, a defendant is liable for acting in “reckless disregard of the truth or falsity of the

information” or acting in “deliberate ignorance of the truth or falsity of the information.” Id.

       125.     Protection of the public treasury requires that those who seek public funds do so

with scrupulous regard for the requirements of law. More specifically, participants in federal

Healthcare Programs have a duty to familiarize themselves with the legal requirements for

payment and to ensure compliance with those requirements. A defendant who fails to inform

himself of those requirements acts in reckless disregard or in deliberate ignorance of those

requirements, either of which is sufficient to charge him with knowledge of the falsity of the claims

in question. Likewise, a defendant who fails to verify and evaluate the accuracy of information or

to investigate the accuracy of information when on notice of questions concerning the accuracy of

such information, acts in reckless disregard or deliberate ignorance sufficient to charge him with

knowledge of the falsity of the claims in question.

       126.     On March 23, 2010, the Patient Protection and Affordability Care Act (“ACA”),

Pub. L. 111-148, 124 Stat. 119, was enacted and broadened both the reach of the AKS and the

reach of the False Claims Act.

       127.     Under the amended AKS, “a claim that includes items or services resulting from a

violation of [the AKS] constitutes a false or fraudulent claim for the purposes of [the False Claims

Act].” 42 U.S.C. § 1320a-7b(g). According to the legislative history of the ACA, this amendment



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to the AKS was intended to clarify “that all claims resulting from illegal kickbacks are considered

false claims for the purpose of civil actions under the False Claims Act, even when the claims are

not submitted directly by the wrongdoers themselves.” 155 CONG. REC. S10854 (daily ed. Oct. 28,

2009) (statement of Sen. Leahy).

       128.    Under the amended False Claims Act, the public disclosure defense is no longer a

jurisdictional bar but rather is an affirmative defense that automatically fails if opposed by the

government.

       129.    31 U.S.C. § 3730(4)(A), as amended in March 2010, provides as follows:

       The Court shall dismiss an action or claim under this section, unless opposed by the
       Government, if substantially the same allegations or transactions as alleged in the action or
       claim were publicly disclosed (i) in a federal criminal, civil, or administrative hearing in
       which the Government or its agent is a party; (ii) in a congressional, Government
       Accountability Office, or other federal report, hearing audit, or investigation; or (iii) from
       the news media, unless the action is brought by the Attorney General or the person bringing
       the action is an original source of the information.

       (B) For purposes of this paragraph, “original source” means an individual who either (i)
       prior to a public disclosure under subsection (e)(4)(A), has voluntarily disclosed to the
       Government the information on which allegations or transactions in a claim are based, or
       (2) who has knowledge that is independent of and materially adds to the publicly disclosed
       allegations or transactions, and who has voluntarily provided the information to the
       Government before filing an action under this section.
       130. In short, even in the presence of a public disclosure as defined in the amended False

Claims Act, the complaint is not subject to dismissal if the whistleblower is an “original source.”

       131.    Under the amended False Claims Act, “original source” has been redefined.

Previously, an “original source” must have had “direct and independent knowledge of the

information on which the allegations are based,” and voluntarily provided the information to the

Government before filing suit based on such information. As amended, an “original source” must

either: (i) prior to a public disclosure, have voluntarily disclosed to the Government the

information on which allegations or transactions in the claim are based, or (ii) have knowledge



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that is independent of, and that materially adds to, the publicly disclosed allegations or

transactions, and have voluntarily provided the information to the Government before filing an

action.

          132.   In this action, there has been no public disclosure as defined by the False Claims

Act. Further, Relator would satisfy the original source exception even if there was such a public

disclosure.

                              Texas Medicaid Fraud Prevention Act

          133.   Similar to the federal FCA, the Texas Medicaid Fraud Prevention Act (“TMFPA”),

Tex. Hum. Res. Code §§ 36.001 et seq. imposes liability on a person who:

                 (1)    knowingly makes or causes to be made a false statement or
                 misrepresentation of a material fact to receive a benefit or payment
                 under the Medicaid program that is not authorized;

                 (2)    knowingly conceals or fails to disclose information that
                 permits a person to receive a benefit or payment under the Medicaid
                 program the is no authorized;

                 […]
                 (4)     knowingly makes, causes to be made, induces, or seeks to
                 induce the making of a false statement or misrepresentation of
                 material fact concerning […] information required to be provided
                 by a federal or state law, rule, regulation, or provider agreement
                 pertaining to the Medicaid program; or

                 […]

                 (12) knowingly makes, uses, or causes the making or use of a
                 false record or statement material to an obligation to pay or transmit
                 money or property to this state under the Medicaid program, or
                 knowingly conceals or knowingly and improperly avoids or
                 decreases an obligation to pay or transmit money or property to this
                 state under the Medicaid program.

          § 36.002.




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       134.     In addition to the above-mentioned acts, § 36.002(13) of TMFPA incorporates the

anti-kickback provisions from § 32.039(b) of MAP, explained in greater detail in ¶ 83 above,

which prohibits a person from soliciting, receiving, offering or paying “any remuneration,

including any kickback, bribe, or rebate” in exchange for referrals, recommendations, or

inducements for services or goods to be paid by Medicaid. § 32.039(b).

       135.     Under the TMFPA, “a person actions ‘knowingly’ with respect to information” if

the person 1) has knowledge of the information; 2) acts with conscious indifference to the truth or

falsity with respect to the information; or 3) acts in reckless disregard of the truth of the falsity of

the information. § 360011. Just like the federal False Claims Act, proof of specific intent is not

required. Id.

       136.     Each element of the action must be proven by a preponderance of the evidence. §

36.1021.

       137.     Statutory liability of the TMFPA includes penalties, damages, interest and

attorneys’ fees. § 36.052. A violator of the TMFPA is liable to the State of Texas for twice the

amount paid by Medicaid plus interest. § 36.052(a).

       138.     TMFPA imposes civil penalties of between “$5,500 or the minimum amount

imposed” by the federal False Claims Act and “$11,000 or the maximum imposed” by the federal

False Claims Act. Additionally, civil penalties can increase to $15,000 “for each unlawful act”

“that results in injury to an elderly person” or a “person younger than 18 years of age.” §

36.052(a)(3).

       139.     Similar to the federal False Claims Act, the TMFPA has a public disclosure defense

provision which requires the court to “dismiss an action or claim” “if substantially the same

allegations or transactions as alleged in the action or claim were publicly disclosed in a “1) Texas



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or federal criminal or civil hearing where Texas is a party; 2) Texas legislative or administrative

report; 3) a Texas hearing, audit or investigation; or 4) news media.” § 36.113(b).

        140.   However, just like the federal False Claims Act, the TMFPA public disclosure

defense does not apply if the dismissal is opposed by the Texas Attorney General or if the person

bringing the suit is an original source. Id.

        141.   The TMFPA defines an original source as an individual who, prior to a public

disclosure, “voluntarily disclosed to the state the information on which allegations or transactions

in a claim are based” or “has knowledge that is independent of and materially adds to the publicly

disclosed allegations or transactions and who has voluntarily provided the information to the state

before filing an action…”    Id.

        142.   In this action, there has been no public disclosure as defined by the TMFPA.

Further, Relator would satisfy the original source exception even if there was such a public

disclosure.

                             DEFENDANTS’ ILLEGAL SCHEME

I.      Defendants’ Anti-Kickback Statute and Stark Act Violations

        143.   The Hospital Defendants recruit wealthy international patients through the

International Services Department at Baylor St. Luke’s Medical Center by advertising that its

“multilingual, professional team stands ready to manage all…medical service and related

needs…24 hours a day, 7 days a week, 365 days a year.” As part of this recruitment process, the

Hospital Defendants tout a long list of services provided to international patients and their families

by the ISD at BSLMC, including: scheduling appointments with physicians, billing and other

financial services, providing interpreters for patients who do not speak English, travel assistance,

business center access, and spiritual and cultural support.



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        144.   These services are offered by the Hospital Defendants in part to attract wealthy

international patients to Baylor St. Luke’s Medical Center—a practice that on its own is not

problematic and is duplicated in one form or another by most other major hospital systems in the

U.S. with an international patient department. But, the Hospital Defendants also use these services

to provide illegal kickbacks to certain medical practices and physicians, independent from the

BSLMC, to induce Medicare and Medicaid patient referrals. It is this practice that violates the

Anti-Kickback Statute and the Stark laws.

        145.   The illegal kickback scheme works as follows: The ISD refers wealthy international

patients to the Referring Physicians, and provides the Referring Physicians with complimentary

interpretation, scheduling, billing, and collection services, as well as in some cases, international

travel perks, to induce the referral of Medicare and Medicaid patients to BSLMC. In certain cases,

the international patients themselves are used as a form of kickback to induce Medicare and

Medicaid patient referrals.

        146.   The Hospital Defendants have provided the international patient referrals and

complimentary interpreter, billing, collection, and scheduling service kickbacks to the Referring

Physicians since at least 2011, when Relator began working as an International Patient

Representative.

        147.   On information and belief, beginning no later than 2011 and lasting until the present

time, for at least a small number of the Referring Physicians, including for Dr. Alan Hoffman, Dr.

Krajcer, Dr. Cosselli, and Dr. Lamelas, Defendant CHI-St. Luke’s provided lavish vacations, travel

stipends, and other related gifts as a further inducement for the referral of Medicare and Medicaid

patients.




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       148.    On information and belief, beginning no later than 2011 and lasting until

approximately 2013 or 2014, Defendant CHI-St. Luke’s (and formerly St. Luke’s Episcopal

Hospital) also provided referring physicians and practices whose offices were at the O’Quinn

Medical Tower at 6624 Fannin St. in Houston with discounted rent and free building maintenance

services. In approximately 2013/2014, the rental terms were changed: the rent was increased and

the impacted physicians and practices had to pay for building maintenance services, such as a new

fee for changing lightbulbs. Relator has knowledge of this matter because when the terms were

changed, it was common knowledge and widely discussed around BSLMC that many referring

physicians and practices were upset about the changes. During this time period, it was particularly

important to the Hospital Defendants’ scheme to placate the Referring Physicians by providing

kickbacks from the ISD so that the Referring Physicians did not begin sending their referrals

elsewhere, such as to Houston Methodist Hospital. Many (though not all) of the Defendant

Referring Physicians had their offices at the O’Quinn Medical Tower and were impacted by the

change in terms. Those physicians who had their offices at the O’Quinn Medical Tower include

the Defendant Referring Physicians identified throughout this Complaint as having received

complimentary interpreters at 6624 Fannin St. in Houston.

       149.    The Hospital Defendants, acting through Vice President Matar, Associate Director

Sanchez, and other ISD employees, knowingly and willfully provided this remuneration—the

international patient referrals, complimentary interpreter and administrative services, and

international travel perks—to the Referring Physicians at least in part for an improper purpose:

inducing referrals, including Medicare and Medicaid referrals, back to BSLMC.

       150.    The Hospital Defendants rate and remunerate physicians based on the number of

Medicare and Medicaid referrals they provide.



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       151.    The Referring Physicians are valued by the Hospital Defendants based on the

number of Medicare and Medicaid patient referrals they make to CHI-St. Luke’s Health.

       152.    Relator attended regular ISD staff meetings where senior ISD officials made these

referral criteria absolutely clear. Relator would often attend multiple meetings in a single week

where senior ISD staff, including the Vice President of the ISD Tania Matar and the Associate

Director of the ISD Angelita Sanchez, instructed staff regarding which referring physicians and

practices to refer international patients to, and which to avoid until such time as they increased

their Medicare and Medicaid referrals back to BSLMC.

       153.    On information and belief, senior ISD staff tracked the number of Medicare and

Medicaid referrals to BSLMC/St. Luke’s Episcopal Hospital by the Referring Physicians. The ISD

staff doing so included VP Matar and Associate Director Sanchez, and prior to his departure,

Warren Whitehead, who served as the VP of the International Services Program when the hospital

in which it was housed was named St. Luke’s Episcopal Hospital. Matar, Sanchez, and Whitehead

had access to such information due to their roles and through their regular meetings with

management personnel of BSLMC/St. Luke’s Episcopal Hospital, such as BSLMC President Gay

Nord and St. Luke’s Episcopal Hospital President David Fine. Matar and Sanchez’s comments to

Relator and other ISD staff members routinely reflected knowledge of which physicians and

practices provided high or low numbers of referrals to the hospital.

       154.    Doctors who refused to refer Medicare and Medicaid patients back to CHI-St.

Luke’s Health at BSLMC, or who did not make enough referrals, risked being cut off from

receiving international patient referrals. Drs. Luis Camacho, Nery Flores, and Fernando Urrutia

were at one time either restricted or completely cut off from being referred international patients

by ISD staff because they no longer sent enough Medicare/Medicaid referrals back to CHI-St.



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Luke’s Health at BSLMC—and in the cases of Dr. Flores and Dr. Urrutia, were referring many of

their Medicare/Medicaid patients to Houston Methodist Hospital instead of BSLMC. Relator and

other ISD staff were instructed and reminded multiple times not to refer international patients to

these physicians, including one such instruction from Associate Director Sanchez given to Relator

and other ISD staff at a referral staff meeting held at the ISD at the end of 2015/beginning of 2016.

        155.    At the other end of the referral spectrum, the ISD also identified those Referring

Physicians that referred the most Medicare or Medicaid patients to BSLMC as “preferred”

providers to whom ISD staff should refer as many international patients as possible.

        156.    For example, in an ISD staff meeting in or around July 2017, ISD Associate

Director Sanchez instructed Relator, as well other members of the ISD staff, including Carlos

Aguilar, Suzanne Haroun, and Lorenna Jaramillo, that the ISD should refer as many patients as

possible to Dr. Isaac Raijman, a private practitioner from Greater Houston Gastroenterology,

because he was referring many patients to CHI-St. Luke’s and the ISD needed to “keep him happy”

(or words to that effect).

        157.    During the regular ISD staff meetings, senior ISD staff, including VP Matar and

Associate Director Sanchez, routinely instructed ISD staff to refer as many international patients

to “preferred” practitioners, even going so far as attempting to thwart the referral of international

patients to other doctors not on the “preferred” list regardless of the circumstances or medical

necessity, using pretextual excuses.

        158.    For example, on October 13, 2016, Relator received an e-mail request from Dr.

Nihad Eldin, the Medical Advisor for the Consulate of the United Arab Emirates, requesting that

he schedule an urgent internal medicine appointment “that same day if possible” for a patient

already in the country and experiencing “cough, fever, mild dyspnea, and a family history of



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asthma.” Informed that the patient was covered by United Healthcare insurance (“UHC”), Relator

made this patient a same-day appointment with Dr. Thomas Stasicha, an internist at BSLMC.

When ISD VP Matar became aware of the referral to Dr. Stasicha shortly thereafter, VP Matar

attempted to pressure Relator into referring the patient to Defendant Dr. Alan Hoffman instead,

one of the outside “preferred” physicians referred to above. See Exhibit 3 (10/13/2016 e-mail from

Vice President Matar).

       159.    Relator was able to avoid switching the referral in this particular instance only

because Dr. Hoffman did not accept UHC insurance. However, tellingly, when he informed VP

Matar via e-mail that because the patient was in need of seeing a physician immediately, and

because the patient was covered by UHC insurance, his only option was to refer the patient to Dr.

Stasicha in BSLMC’s own in-house internal medicine department, VP Matar responded that the

ISD needed to find “an alternative” private practitioner who accepts UHC insurance (meaning

another potential source of Medicare/Medicaid referrals). Id.

       160.    Dr. Hoffman was “preferred” for ISD referrals because he was a consistent source

of referrals of Medicare and Medicaid patients back to CHI-St. Luke’s Health. Relator has attended

dozens of ISD staff meetings where VP Matar and/or Associate Director Sanchez instructed ISD

staff to refer as many patients as possible to Dr. Hoffman.

       161.    VP Matar wanted “an alternative” private practitioner who accepted UHC

insurance rather than referring ISD patients to BSLMC’s internal in-house internal medicine

department to further the scheme of misusing the ISD as a vehicle to induce Medicare and

Medicaid referrals from independent physicians and practices.




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       162.    The Hospital Defendants, including Matar and Sanchez, believed that providing

remuneration to high-volume referral sources and cutting off remuneration to low-volume referral

sources would induce a greater volume of Medicare and Medicaid referrals to BSLMC.

       163.    The ISD maintained a selective roster of physicians to facilitate referrals by ISD

staff of international patients to independent physicians approved by VP Matar and Associate

Director Sanchez. Matar and Sanchez placed physicians on this roster for reasons including that

they believed the physicians would refer back business to the hospital. Matar and Sanchez also

removed physicians from this roster if they believed the physicians would not refer business back

to the hospital. The ISD’s referral roster included Defendants Boccalandro, Colomer, Cherem,

Dahlberg, Douglass, Elhaj, Fishman, Hoffman, Hung, Katz, Krajcer, Leachman, Livesay, Lopez,

Mesa, Moses, Raijman, Santacruz, Singh, and Sista, among other physicians. In similar fashion,

the ISD also maintained a file of biographies for a selective list of independent physicians slated

to receive referrals of international patients from the ISD, which included many of the Defendant

Referring Physicians as well.

       164.    The government has long warned both hospitals and referring physicians against

such practices. In 2005, the Office of Inspector General of the Department of Health and Human

Services identified as a special concern “compensation arrangements” between hospitals and

physicians in which “hospitals provide items or services to the physicians”—including, for

example, “agreements for the provision of billing . . . or other staff service”—if “one purpose of

the arrangements is to compensate physicians for past or future referrals.”             HHS-OIG

Supplemental Compliance Program Guidance for Hospitals, 70 Fed. Reg. 4858-01, 2005 WL

192293, Jan. 31, 2005 (emphasis added). As the HHS-OIG warned:

       The general rule of thumb is that any remuneration flowing between hospitals and
       physicians should be at fair market value . . . based upon an arm’s-length transaction and


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       should not take into account, directly or indirectly, the value or volume of any past or future
       referrals or other business generated between the parties. Arrangements under which
       hospitals [] provide physicians with items or services for free [or] relieve physicians
       of financial obligations they would otherwise incur . . . pose significant risk. In such
       circumstances, an inference arises that the remuneration may be in exchange for generating
       business.

Id. (emphasis added).

       165.    Even prior to 2005, the government had identified compensation arrangements

between hospitals and referring physicians as areas of special risk and concern. See, e.g., 63 Fed.

Reg. 8987 (February 23, 1998) (raising concerns about “[f]inancial arrangements between

hospitals and hospital-based physicians” and “[h]ospital incentives that violate the anti-kickback

statute”); Dep’t of Health & Human Servs. Office of Inspector General Compliance Program for

Individual and Small Group Physician Practices, 65 Fed. Reg. 59434 (Oct. 5, 2000) (cautioning

physician practices of the risk of “improper inducements, kickbacks, and self-referrals,” including

“arrangements with hospitals”).

       166.    As the government has made clear, “remuneration for referrals is illegal because it

can distort medical decision-making, cause overutilization of services or supplies, increase costs

to Federal health care programs, and result in unfair competition by shutting out competitors who

are unwilling to pay for referrals,” as well as “affect[ing] the quality of patient care by encouraging

physicians to order services . . . based on profit rather than the patients’ best medical interests.”

HHS-OIG Compliance Program for Individual and Small Group Physician Practices, 65 Fed. Reg.

59434, 59440 (Oct. 5, 2000); OIG Special Fraud Alert, 65 Fed. Reg. 9274, 9275 (Feb. 24, 2000).

       167.    These actions—the referral of international patients, the provision of free

scheduling, billing, and interpretation services, and the provision of lavish travel-related gifts—

when provided by the ISD to the Defendant Referring Physicians, violate the AKS and Stark Act.




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III.    Defendants’ False Claims Act Violations.

        175.   Although the Hospital Defendants were violating the requirements of the AKS,

federal Stark laws, and other relevant regulations, they nonetheless submitted claims to Medicare

and Medicaid, which made up a large proportion of their business (58%, in the case of Defendant

CHI).



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       176.   The Hospital Defendants violated the False Claims Act by, among other

actions/misconduct:

           a. Certifying compliance with the AKS, federal Stark laws, and other relevant

              regulations as a condition of participation in Medicare and Medicaid (Forms

              HCFA-1561 and CMS-1500);

           b. Certifying compliance with the AKS, federal Stark laws, and other relevant

              regulations as a condition of payment under the Medicare and Medicaid programs

              (Forms 855A and CMS-1500);

           c. Falsely certifying compliance with the AKS, the Stark laws, and other relevant

              regulations in their claims for interim reimbursement (Form UB-92);

           d. Falsely certifying compliance with the AKS, the Stark laws, and other relevant

              regulations in their hospital cost reports (Form CMS-2552):

           e. Falsely certifying that none of the services billed to Medicare or Medicaid were

              “provided or procured through the payment directly or indirectly of a kickback” or

              other illegal remuneration.

       177.   The Hospital Defendants also violated the TMFPA by 1) falsely certifying

compliance with the AKS, Federal Stark laws, and other relevant regulations in the Provider

Agreement; 2) falsely certifying compliance with the AKS, federal Stark laws, and other relevant

regulations as a condition of payment under the Medicaid programs; and 3) knowingly violating §

36.002(13) and § 32.039(b) by accepting or paying for kickbacks.

       178.   These certifications by the Hospital Defendants for the purposes of enrollment in,

payment by, and continued participation in Medicare and Medicaid were knowingly false as

agents, employees, and representatives of the Hospital Defendants, including Vice President Matar



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and Associate Director Sanchez, knew that the Hospital Defendants were routinely violating the

AKS, Stark laws, and relevant regulations by misusing the ISD to provide illegal remuneration to

induce referrals.

       179.    In many cases, the Hospital Defendants’ claims to Medicare and Medicaid were the

product of referrals from the Referring Physicians, including the Defendant Referring Physicians,

to which the Hospital Defendants had provided illegal remuneration through the ISD in order to

induce referrals, in violation of the AKS and the Stark laws.

       180.    In many cases, the Hospital Defendants’ claims to Medicare and Medicaid were the

product of referrals from Referring Physicians, including the Defendant Referring Physicians, that

had and expected to continue to receive illegal remuneration through the ISD in violation of the

AKS and the Stark laws.

       181.    The Hospital Defendants submitted thousands of claims to Medicare and Medicaid

in which the claims were the product of referrals from the Referring Physicians, including the

Defendant Referring Physicians, who were receiving kickbacks in violation of the AKS, Stark

laws, and § 36.002(13) and § 32.039(b).

       182.    Defendant Bone and Joint Clinic of Houston, for example, was a major beneficiary

of illegal remuneration from the ISD. For example, eight of the ten orthopedic physicians on the

ISD’s referral roster were agents and representatives of Bone and Joint Clinic of Houston during

relevant time periods (Dr. William Granberry; Dr. Thomas Greider; Dr. Marc Labbe; Dr. Walter

Sassard; Dr. Roy Smith; Dr. Sherwin Siff; Dr. Todd Siff; and Dr. William Watters). Bone and

Joint Clinic received the vast majority of the ISD’s referrals of international patients for orthopedic

services, along with complimentary services such as free interpreters, billing and collection

services.



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        183.   Defendant Bone and Joint Clinic of Houston referred Medicare and Medicaid

patients to the Hospital Defendants for care at BSLMC while receiving and expecting to receive

illegal remuneration from the ISD to induce referrals. One such referral by the Bone and Joint

Clinic of Houston (through physician Dr. William Watters) was Medicare patient W.P., referred

by Dr. Watters to Defendant CHI-St. Luke’s Health for pre-surgical testing on October 17, 2015,

and an orthopedic surgery on October 24, 2015 at BSLMC. The testing and surgery were both

carried out on those dates, and because of patient W.P.’s status as a Medicare beneficiary, Relator

has good reason to believe that the Hospital Defendants billed the testing and surgery to the

government through the Medicare program and received payment from the government.

                          FORMS OF ILLEGAL REMUNERATION

        184.   The Hospital Defendants provided four categories of illegal remuneration to the

Defendant Referring Physicians that serve as the basis for Relator’s claims: (1) lucrative

international patient referrals; (2) complimentary interpreters; (3) free administrative assistance in

the form of scheduling, billing, and collection services; and (4) international travel perks. Each are

discussed in detail below.

I.      Lucrative International Patient Referrals

        185.   As indicated above, Baylor St. Luke’s Medical Center is an 850-bed super hospital.

        186.   BSLMC is staffed by nearly 1800 medical professionals across all specialties,

including physicians, with approximately one hundred thousand patient admissions and

emergency visits every year. BSLMC provides comprehensive care in both the inpatient and

outpatient settings for most major medical specialties.

        187.   BSLMC has a primary care department staffed by physicians hired by CHI-St.

Luke’s.



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        188.   CHI-St. Luke’s Health also has specialty care departments at BSLMC and other

facilities in the Greater Houston area, including the following departments: Respiratory & Lung

Care (Pulmonology); Oncology; Family Bariatric Surgery; Cardiovascular Care; Diabetes Care;

Ear, Nose & Throat (ENT); Emergency Care; Endocrinology; Executive Health; Eye Care

(Ophthalmology); Gastroenterology & Digestive Health; Imaging & Diagnostic Procedures;

Infectious Diseases; Infusion Centers; Laboratory Services; Liver Care; Nephrology; Neurology

& Neurosurgery; Occupational Health; Orthopedics & Sports Medicine; Pain Management;

Pediatrics; Plastic & Reconstructive Surgery; Rehabilitation Services; Rheumatology; Sleep

Medicine; Spine Care; Stroke Care; Surgical Services; Transplants; Urgent Care; Urology;

Women's Health & Maternity; and Wound Care.

        189.   BSLMC houses the International Services Department of the Hospital Defendants.

The Hospital Defendants spend millions of dollars each year to operate the ISD precisely because

the patient flow generated by international medical tourism is lucrative. Nearly all of the

international patients served by the ISD are paying patients. Indeed, many international patients

are pre-approved for services by their respective embassies which guarantee payment by a Letter

of Guarantee. See Exhibit 1 (International Services Billing/Collection Process for Embassy

Patients).

        190.   The ISD could refer nearly all of the international patients that contact the ISD to

physicians working in CHI-St. Luke’s own primary or specialty care departments.

        191.   Tellingly, the Hospital Defendants do the opposite in practice – they refer the vast

majority of international patients recruited by the ISD to independent medical practices and

practitioners in the Greater Houston area, such as the Defendant Referring Physicians.




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       192.    When the Hospital Defendants refer these international patients to the Defendant

Referring Physicians, they plainly provide the Defendant Referring Physicians with something of

value: patients seeking medical services with the ability to pay for medical care at full cost. See

generally, HHS-OIG, Supplemental Compliance Program Guidance for Hospitals, 70 Fed. Reg.

4858 (indicating that under the AKS, any time any form of remuneration is exchanged between

referral sources (i.e., the Defendant Referring Physicians) and a provider of health care services to

a federal health care program (i.e., the Hospital Defendants), the arrangement must be highly

scrutinized because private physicians are the primary source of referrals of patients to hospitals.

       193.    When the ISD refers international patients to the Referring Physicians, they

generate significant revenue for those Referring Physicians. See, e.g., Exhibit 2 (reflecting

billings/collection of payments to the Referring Physicians for services provided to international

patients); Exh. 9 (35 pages of scheduling documents reflecting hundreds of appointments by Dr.

Hoffman with international patients referred to him by the ISD); Paragraph 250, below (reflecting

an instance of MedCare receiving payment of $138,320.99 in April 2016 for services provided to

nine international patients referred by the ISD).

       194.    The Hospital Defendants knowingly and willfully refer these valuable international

patients to the Referring Physicians rather than to their own hired in-house physicians to induce

the Referring Physicians to refer Medicare and Medicaid patients to BSLMC.

       195.    The scheme makes economic sense to the Hospital Defendants for two reasons.

First, the volume of Medicare and Medicaid patients being referred to the Hospital Defendants for

medical care at BSLMC is so great (Defendant CHI, for example, derives 58% of its gross revenue

from Medicare and Medicaid patients) that it more than compensates for the lost revenues on the

much fewer number of private patients referred out in exchange.



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       196.    Second, under the arrangement as agreed with the Referring Physicians, the

Hospital Defendants receive a referral to BSLMC for any follow-up care the private patients

required. Indeed, ISD staff received a daily e-mail from Carlos Aguilar that attached a list of the

international patient appointments with outside private practitioners, for that particular day, and

instructing them to “please contact the physicians’ offices to ensure any testing, etc. be returned to

BSLMC.” See Exhibit 6 (Examples of daily e-mails from Carlos Aguilar regarding making sure

follow-up care occurred at BSLMC).

       197.    The scheme makes economic sense for the Referring Physicians, because they

receive valuable referrals of wealthy, full-paying international patients (along with other related

kickbacks such as free interpreters, administrative services, and for a subset of the Referring

Physicians, international travel perks), and in response need only reciprocate by referring their

patients, including their Medicare and Medicaid patients to BSLMC instead of other area hospitals

such as Houston Methodist Hospital.

       198.    For example, through the ISD, the Hospital Defendants routinely referred

international patients for pulmonary care to Defendant Santacruz of Pulmonary Critical Care &

Sleep Medicine Consultants. See, e.g., Exh. 7, at 4 (reflecting ISD referral of international patient

from Saudi Arabia to Dr. Santacruz for evaluation on 5/20/14 at 2:30pm, at 6560 Fannin Street,

Suite 1760); Exh. 7, at 12 (reflecting ISD referral of international patient from Qatar to Dr.

Santacruz for evaluation on 2/17/15 at 1:30pm, at O’Quinn Medical Tower, Suite 1730); Exh. 6,

pp. 6-7 (reflecting ISD referral of international patient from Venezuela to Dr. Santacruz for an

appointment on 9/27/16 at 10:30am). The Hospital Defendants could have instead referred the

same international patients to CHI-St. Luke’s own in-house physician, Dr. Robert Solis, a Yale

graduate with decades of experience, who could have provided them with excellent pulmonary



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care. One reason the Hospital Defendants instead referred the international patients to independent

practitioners such as Dr. Santacruz and Pulmonary Critical Care & Sleep Medicine Consultants

was to induce the Referring Physicians to refer their patients, including their Medicare and

Medicaid patients, back to BSLMC instead of other hospitals.

       199.    In return for lucrative international services patient referrals (and the free

interpreters and administrative services described in more detail throughout this Complaint that

the ISD provided with them), the Referring Physicians referred back patients, including Medicare

and Medicaid patients, to the Hospital Defendants for treatment at BSLMC.

       200.    For example, pursuant to this arrangement, the ISD provided Bone and Joint Clinic

of Houston with illegal remuneration in the form of lucrative international patient referrals, free

interpreters, and free administrative assistance (see, e.g., Paragraph 27). In return, Bone and Joint

Clinic referred Medicare patients back to the Hospital Defendants at BSLMC. For example, Bone

and Joint Clinic of Houston referred to the Hospital Defendants Medicare patient W.P., referred

by Dr. William Watters to Defendant CHI-St. Luke’s Health for pre-surgical testing on October

17, 2015, and an orthopedic surgery on October 24, 2015 at BSLMC. The testing and surgery were

both carried out on those dates, and because of patient W.P.’s status as a Medicare participant,

Relator has good reason to believe that the testing and surgery were both billed to the government

through the Medicare program.

       201.    Each of the Defendant Referring Physicians has received referrals of international

patients from the ISD intended to induce Medicare and Medicaid referrals back to the BSLMC.

See, e.g., Paragraphs 23-39, above; Exh. 6 (appointment information for international patients

referred by the ISD to Defendants Hoffman, Mesa, Cherem, Lopez, Santacruz, Livesay, Jogi, and

Douglas); Exhs. 2 & 11 (detailing payments for services provided to international patients referred



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by the ISD to the Defendant Referring Physicians); Exh. 12, 13 (detailing charges for certain

international patients referred by the ISD to the Defendant Referring Physicians); Exh. 7 (detailing

interpretation services provided to international patients referred by the ISD to the Defendant

Referring Physicians).

         202.   The illegal referrals of international patients made by the Hospital Defendants to

the Referring Physicians to induce Medicare and Medicaid referrals back to BSLMC were

occurring in 2011, when Relator first began working at the ISD, and have continued through the

present day.

II.      Complimentary Interpreters

         203.   For each international patient ISD referred to the Defendant Referring Physicians,

the ISD provided a complimentary language interpreter to accompany the patients to their

appointments. Each time the Hospital Defendants provided this complimentary interpreter through

the ISD, they knowingly and willfully provided an illegal kickback to ingratiate themselves with

the Referring Physicians and induce Medicare/Medicaid referrals in return.

         204.   ISD staff members were instructed to schedule an interpreter for every single

international patient referred to one of the Referring Physicians regardless of the circumstances.

See e.g., Exh. 4 (8/26/2016 Email from ISD Associate Director Sanchez to ISD staff instructing

the ISD to send Arabic-speaking interpreters for international patients referred to referring

physician even if the physician or one of his staff members speak Arabic).

         205.   The free interpreters had significant value to the Referring Physicians because they

facilitated to their business of providing medical care, enabled them to receive payment for that

care, and minimized their liability.




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        206.    To treat the international patients, the Referring Physicians and their nursing and

administrative staff had to be able to communicate with the patients. The free interpreters gifted

to the Referring Physicians by the ISD allowed the Referring Physicians and their staff to

communicate effectively and efficiently with their international patients, enabling the provision of

medical services, and ultimately, the receipt of payment for those services.

        207.    Moreover, all health care providers face potential civil liability when they treat

patients with limited English proficiency without providing language services such as interpreters.

A communication gap with patients with limited English proficiency exposes physicians and

medical practices to liability for failure to obtain the patient’s informed consent for treatment; for

breach of the physician’s duty to warn the patient of medical risks from a course of treatment, such

as from a medication or procedure; and for misdiagnosis or the prescription of an improper course

of medical treatment that results from the inability of a patient to communicate with medical

professionals. Such claims are often categorized as civil rights claims and not covered by medical

malpractice insurance. The use of a third-party professional interpreter, in particular, decreases

liability to the Referring Physicians.

        208.    Third, Title VI of the Civil Rights Act of 1964, the Americans with Disabilities

Act, and Section 1557 of the Patient Protection and Affordable Care Act require that providers

who receive federal funds, including from the Medicare and Medicaid programs, must provide oral

interpreters to patients with limited English proficiency. By law, the costs for the interpreters

cannot be passed on to patients. Each of the Defendant Referring Physicians received federal funds

for treating Medicare and Medicaid patients, and therefore was required by law to comply with

this requirement or face liability.




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       209.    Finally, the free interpreters helped the Defendant Referring Physicians avoid a risk

of costly negative outcomes such as poor medical outcomes that could damage a physician’s

reputation or bill payment refusal that arises when communication gaps cause misdiagnosis or

mistreatment or limit a patient’s ability to understand and consent to a course of treatment or

payment of the cost of such treatment.

       210.    Had the ISD not provided such interpreters, the Referring Physicians would have

had to pay for an interpreter themselves and could not pass that cost on to the patient.

       211.    The ISD provided free interpreters to Referring Physicians on at least a thousand

occasions between 2011 and 2016.

       212.    The complimentary interpreters provided by the ISD were required to complete and

send an Update Report to the ISD after every international patient appointment with a Referring

Physician.

       213.    The mandatory Update Report was a form e-mail sent from “info@umsac.com” by

the interpreter to “St. Luke’s International” that included the name of the patient, the name of the

interpreter, the date of the appointment, location of appointment, and the name of the doctor with

whom the appointment was made. See Exh. 5 (Examples of Update Reports). The Update Report

also included three boxes where interpreters were required to indicate whether the appointment

resulted in a “Change in Medication,” as well as whether a “Follow-up [was] Required.” Id.

Finally, the Update Report included a section entitled “Outcome of Appointment” where the

interpreter was to indicate what occurred at the appointment and whether any and what follow-up

care was required. Id.

       214.    For example, an Update Report from October 17, 2016 indicates that the ISD

provided a complimentary interpretation to Dr. Krajcer by interpreter Hossalmeldin Salem. The



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international patient at issue had an echocardiogram performed by Dr. Krajcer; follow-up

treatment was required in the form of the fitting of a heart holter monitor and a second appointment

with Dr. Krajcer. Id., at 5; see also Exh. 7, at 81.

        215.    The mandatory Update Reports that the ISD required interpreters to complete for

each international patient visit with one of the Referring Physicians document that the Hospital

Defendants were providing interpreters to the Referring Physicians, and include the name of the

physicians to whom interpretation services were being provided for free as well as the name of the

interpreter provided to said physician.

        216.    ISD staff also received a daily e-mail from Carlos Aguilar that attached a list of the

international patient appointments with outside private practitioners, each of which corresponded

with ISD’s provision of a complimentary interpreter for the appointment. See Exh. 6 (lists

reflecting the details of international patient referral appointments, with corresponding

complimentary interpretation services, provided to Drs. Hoffman, Mesa, Cherem, Lopez,

Santacruz, Livesay, Jogi, and Douglas). Mr. Aguilar’s daily e-mail also reminded ISD staff to

provide appointment reminders to the international patients to keep the ISD from scheduling and

paying for interpreters “unnecessarily.” Id.

        217.    As one example, the ISD provided Defendant Moses of The Center for ENT with a

complimentary interpreter on April 21, 2017, for an 11:00am appointment with international

patient M.K. from Qatar, regarding the Epley maneuver.

        218.    Relator has attached to this Complaint more than 100 pages of “Interpreter Logs”

comprising thousands of examples of the ISD scheduling and providing interpreters at no cost to

the Referring Physicians. See Exh. 7 (Interpreter Logs).




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       219.    For example, as reflected in these logs:

               a.      The ISD provided a complimentary interpreter to Defendant Boccalandro

on 7/8/14 at 10:00 am for an international patient from Qatar referred by the ISD to Dr.

Boccalandro for an evaluation. Exh. 7 at 4.

               b.      The ISD provided complimentary interpreters to Defendant Boccalandro on

8/8/14 at 8:00 am and at 2:00 pm for international patients from Saudi Arabia and Oman

respectively, referred by the ISD to Dr. Boccalandro for evaluations. Exh. 7 at 9-10.

               c.      The ISD provided a complimentary interpreter to Defendant Boccalandro

on 3/4/15 at 2:30 pm for an international patient from Kuwait referred by the ISD to Dr.

Boccalandro for an evaluation. Exh. 7 at 13.

               d.      The ISD provided a complimentary interpreter to Defendant Boccalandro

on 3/29/16 at 3:00 pm at 6624 Fannin St., Suite 2380 in Houston, TX for an international patient

from Saudi Arabia referred by the ISD to Dr. Boccalandro for an evaluation. Exh. 7 at 56.

               e.      The ISD provided a complimentary interpreter to Defendant Boccalandro

on 6/9/16 at 3:25 pm at 6624 Fannin St., Suite 2380 in Houston, TX for an international patient

from Kuwait referred by the ISD to Dr. Boccalandro for an evaluation. Exh. 7 at 67.

               f.      The ISD provided a complimentary interpreter from Universal Medical

Services to Defendant Boccalandro on 8/15/16 at 1:00 pm at OQMT, 6624 Fannin St., Suite 140

in Houston, TX for an international patient from Kuwait referred by the ISD to Dr. Boccalandro

for diabetes education. Exh. 7 at 71.

               g.      The ISD provided a complimentary interpreter Defendant Boccalandro on

10/26/16 at 1:00 pm at 6624 Fannin St., Suite 2380 in Houston, TX for an international patient

from Kuwait referred by the ISD to Dr. Boccalandro for an evaluation. Exh. 7 at 85.



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              h.     The ISD provided additional complimentary interpreters to Defendant

Boccalandro from Language Line Co. for evaluations of international patients referred to Dr.

Boccalandro by the ISD. Exh. 7 at 34-35, 37, 39-40.

       220.   The following is just a small sample of these Interpreter Logs:

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       221.      Because a complimentary interpreter was sent as a matter of policy for every

medical appointment between 2011 and 2016 for which the ISD referred an international patient

to a Referring Physician, each appointment associated with the complimentary scheduling,

collection, or billing services provided to the Referring Physicians that is detailed in this Complaint

(and its accompanying exhibits) during that timeframe also involved a complimentary interpreter

provided by the ISD.

       222.      The vast majority of interpreters scheduled by the ISD were scheduled to provide

their services at the offices of independent physicians and practices, such as those of the Defendant

Referring Physicians. See Exhibit 8 (CHI-St. Luke’s internal statistics regarding interpreter

services).

       223.      The improper remuneration in the form of free interpreters described in this section

was being provided to the Referring Physicians in 2011, when Relator first began working at the

ISD, and continued through the end of 2016. After that time, free interpreters were provided on a

limited basis.

       224.      Starting in or around December 2016 or January 2017, CHI-St. Luke’s replaced the

interpreter Update Report with New Patient Forms, completed by ISD staff.

       225.      On information and belief, and as is discussed in more detail above, this change

occurred because Relator informed Defendant CHI-St. Luke’s compliance department that CHI-

St. Luke’s was improperly providing free interpreter and other services to Defendant Referring

Physicians, and had been doing so for a number of years.

III.   Complimentary Administrative Assistance

       226.      In addition to the unnecessary referral of international patients to the Referring

Physicians and the provision of free interpreter services, the Hospital Defendants gifted the



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Referring Physicians with administrative assistance in the form of scheduling services, billing, and

collection services—all provided on a complimentary basis by ISD staff.

       227.    After the ISD referred an international patient to one of the Defendant Referring

Physicians, the ISD would then, using its own staff, schedule an appointment with the chosen

physician, call the patient with appointment reminders in advance of the appointment, schedule

follow-up appointments for the patient, bill the patient directly on the physician/practice’s behalf

for the appointment, and collect any outstanding balances owed on behalf of the physician/practice.

       228.    These administrative services were provided at the Hospital Defendants’ own

expense and should have been performed by the Referring Physicians’ own staff members (and

paid for by Referring Physicians). Instead, ISD staff worked virtually full-time providing these

services for the Referring Physicians.

       229.    Had the ISD staff not performed these administrative services, the Referring

Physicians would had had to provide them through administrative staff, resulting in significant

expense.

       230.    In addition, had the ISD staff not performed these administrative services, the

Referring Physicians would had to provide these administrative services while also facilitating

language access at their own expense. As set forth above, Title VI of the Civil Rights Act of 1964,

the Americans with Disabilities Act, and Section 1557 of the Patient Protection and Affordable

Care Act require that all providers who receive federal funds, including from the Medicare and

Medicaid programs, provide meaningful language access to all patients with limited English

proficiency and do not permit providers to refuse care to such patients because of any difficulty or

expense associated with providing language services. The Defendant Referring Physicians all




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received federal funds treating Medicare and Medicaid patients and therefore were required to

comply with these directives.

       231.    The Hospital Defendants provided these scheduling, billing, and collection services

to the Referring Physicians knowingly and willfully to induce Medicare and Medicaid referrals.

               a.     Free Scheduling Assistance

       232.    For every international patient referred by the ISD to the Referring Physicians, ISD

staff provided free scheduling services that should have been performed by the administrative staff

of the Referring Physicians.

       233.    If the ISD referred a patient to one of the Referring Physicians, that physician’s

own staff should have scheduled the initial appointment with the referred international patient and

provided appointment reminders.

       234.    However, to curry favor and induce Medicare and Medicaid referrals back to the

BSLMC, the ISD took on these scheduling tasks on a complimentary basis for the Referring

Physicians, providing a valuable and costly administrative function that should have been

performed by the physician or practice’s own staff.

       235.    The ISD also took on additional scheduling duties for the Referring Physicians to

curry favor with them and induce Medicare and Medicaid referrals to BSLMC. Specifically, if a

Referring Physician referred an international patient for follow-up care at the BSLMC with staff

paid for by the Hospital Defendants, the Referring Physician’s own administrative staff should

have contacted BSLMC Central Scheduling so that Central Scheduling could schedule the referred

follow-up care. Instead, the ISD took on this form of scheduling assistance for the Referring

Physician, free of charge, in order to induce Medicare/Medicaid referrals.

       236.    The scheduling services were provided as a matter of ISD policy.



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       237.    The daily e-mail sent to ISD staff from Carlos Aguilar attaching a list of

international patient appointments specifically reminded ISD staff to provide appointment

reminders to the international patients for each appointment the ISD scheduled on their behalf with

the Referring Physicians. Exhibit 6.

       238.    The cover sheet provided with the New Patient Form also made clear that the ISD

was providing Referring Physicians with free scheduling services.

       239.    These complimentary administrative services had value to the Referring

Physicians, because they did not have to compensate their own administrative staff to provide the

services, which were time-consuming and costly to provide. Indeed, such services facilitated and

were necessary to the Referring Physicians’ business of providing medical care and receiving

payment for that care. The Referring Physicians would not have been able to receive payment for

services provided to international payments had their initial and follow-up appointments not been

scheduled (or would have had to compensate their own staff to provide those functions) and would

have incurred opportunity cost and wasted expense due to missed appointments had the ISD staff

not provided appointment reminders to the international patients prior to their appointments with

the Referring Physicians.

       240.    In fact, the Referring Physicians often requested that the ISD fulfill their scheduling

requests. For example, on August 18, 2017, Katie Spence, a representative of Houston Thyroid &

Endocrine Specialists, emailed ISD staff to convey Dr. Jogi’s request that the ISD staff schedule

international patient P.M. from Mexico for blood tests on Dr. Jogi’s behalf, and the ISD complied.

       241.    Relator has attached to this Complaint thirty-five pages of records reflecting the

dates, times, and medical service associated with hundreds of appointments scheduled by the ISD

on a complimentary basis for Dr. Hoffman alone, with international patients referred to Dr.



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Hoffman by the ISD. See Exh. 9 (ISD scheduling documents related to Dr. Hoffman); see also

Exh. 6 at 3 (ISD provided complimentary appointment reminders to international patients from the

United Arab Emirates and Honduras referred by the ISD to Dr. Hoffman for appointments on

8/23/16); Exh. 6 at 3 (ISD provided complimentary appointment reminders to international patients

from the United Arab Emirates and Honduras referred by the ISD to Dr. Hoffman for appointments

on 8/23/16); Exh. 6 at 11 (ISD provided complimentary appointment reminders to international

patient from the United Arab Emirates to Dr. Hoffman for an appointment on 11/15/16).

       242.    Similar documents exist for all of the other Defendant Referring Physicians.

       243.    Around November 2015, there was a leadership change at BSLMC Central

Scheduling whereby it was emphasized that all appointments with BSLMC staff should be

scheduled by BSLMC Central Scheduling. Worried that the ISD would lose out on one important

inducement for Medicare/Medicaid referrals, ISD Associate Director Sanchez sent a letter to the

office staff of the Defendant Referring Physicians reassuring them that despite the change in

“Central Scheduling leadership,” the ISD will continue to “(1) contact patient[s] for their date/time

availability; (2) secure financial clearance for [any tests]; and (3) schedule the test[s] with Central

Scheduling. See Exhibit 10 (11/10/2015 Letter from Sanchez with attached fax cover sheet).

Attached to this letter was a fax cover sheet to be used by the Referring Physicians to expedite

their scheduling requests to ISD. Id. Thus, even after that time, the ISD continued to provide free

administrative scheduling services in order to ingratiate itself with the Referring Physicians and

induce Medicare and Medicare referrals back to the BSLMC.

       244.    The improper remuneration in the form of free scheduling services described in this

section was being provided to the Referring Physicians in 2011, when Relator first began working




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at the ISD, continued unabated until late 2016, and continues on a more limited basis to the present

day.

               b.      Free Billing and Collection Services

       245.    Defendant CHI-St. Luke’s Health also provided complimentary billing and

collection services to the Referring Physicians in part to induce Medicare and Medicaid referrals.

       246.    The ISD’s own internal policy and procedure documents indicate that ISD staff

were to provide billing and collection services for international patients referred to independent

physicians and practices such as the Defendant Referring Physicians. See Exhibit 1 (International

Services Billing/Collection Process for Embassy Patients).

       247.    These administrative services were provided at the Hospital Defendants’ own

expense and should have been performed by the Referring Physicians’ own staff members (and

paid for by Referring Physicians). Instead, ISD staff worked virtually full-time providing these

services for the Referring Physicians.

       248.    These complimentary billing and collections services had value to the Referring

Physicians, because they did not have to compensate their own administrative staff to provide the

services, which were time-consuming and costly to provide. The services facilitated and were

necessary to the Referring Physicians’ business of receiving payment for medical care. The

Referring Physicians would not have been able to receive payment for services provided to

international payments had their bills not been sent out and collected and would have incurred

significant administrative costs to pay their own staff to provide those services.

       249.    Some physicians, including Dr. Urrutia, declined these complimentary services and

properly insisted on billing the patients directly.




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       250.    For example, through ISD staff, CHI-St. Luke’s billed nine international patients,

S.A.K., N.A.M, S.A.N., B.A.S., K.A.S., F.A., N.A., A.A.M., and A.A, for fourteen charged

services totaling $138,320.99, on behalf of MedCare, and collected payment. The ISD then

prepared documentation of the collection and disbursement on April 6, 2016, and provided a check

for payment issued by CHI on April 12, 2016 to MedCare. The ISD provided these services for

free to MedCare, whose administrative staff did not themselves need to collect the $138,320.99

from the nine patients.

       251.    Likewise, through ISD staff, CHI-St. Luke’s billed international patient S.A.K.

$2,094 on behalf of Defendant Apnix for two charged services, collected payment, prepared

documentation of the disbursement on April 12, 2016 for Apnix, and provided a check for payment

issued by CHI on 4/19/16 to Apnix. The ISD provided these services for free to Apnix.

       252.    Relator has attached to this Complaint nearly 100 pages of billing documents,

including checks, which demonstrate that ISD staff were not only billing international patients on

behalf of the Defendant Referring Physicians, but also collecting and disbursing payment for them.

See Exh. 11 (Documents indicating extent of billing/collections conducted by ISD on behalf of the

Defendant Referring Physicians).

       253.    As reflected in Exhibit 11, for example:

               a.         The ISD collected on a complimentary basis a bill for six international

patients referred by the ISD to Dr. Hoffman, for six charges totaling $4,992 that were disbursed

by the ISD to Dr. Hoffman on 2/25/16. Exh. 11 at 17-18.

               b.         The ISD collected on a complimentary basis bills for one international

patient referred by ISD to Dr. Hoffman, for a charge totaling $1,300 that was disbursed by the ISD

to Dr. Hoffman on 4/6/16. Exh. 11 at 19-20.



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                 c.     The ISD collected on a complimentary basis a bill for two international

patients referred by the ISD to Houston Thyroid & Endocrine Specialists, for three charges totaling

$1,894.72, that were disbursed by the ISD to Houston Thyroid & Endocrine Specialists on 4/12/16.

Exh. 11, pp. 35-36.

                 d.     The ISD collected on a complimentary basis a bill for four international

patients referred by the ISD to Leachman Cardiology Associates, for four charges totaling

$2,488.00, that were disbursed by the ISD to Leachman Cardiology Associates on 2/25/16. Exh.

11, pp. 21-24.

       254.      The following is just a small sample of these checks:

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       255.    In line with this practice, billing documents sent to the various embassies that deal

with the ISD include the following language:

       Please make check payable to CHI St. Luke’s Health Baylor and mail to address noted
       below. Checks can also be prepared separately (hospital/physicians) and mailed to St.
       Luke’s International Center, where they will personally be hand delivered [in order to]
       expedite [the] process. If you have already paid the Physicians’ bills please disregard [the]
       above notice.

See Exhibit 12 (Billing Document to UAE).

       256.    These billing documents, which are sent by Defendant CHI-St. Luke’s Health on

CHI-St. Luke’s Health letterhead (and were earlier sent by St. Luke’s Episcopal Hospital on its

letterhead), routinely list one or more private practices and/or practitioners for whom collection is

sought, as well as the charges related to the services provided by those private

practices/practitioners. See e.g., Exhibit 12 (Billing Document to UAE whereby CHI-St. Luke’s

Health seeks collection on behalf of Defendant Dr. Alan Hoffman); see also, Exhibit 11

(Documents indicating extent of billing/collections conducted by ISD on behalf of the Defendant

Referring Physicians); Exhibit 13 (CHI-St. Luke’s billing documents to various embassies seeking

collection on behalf of all of the Defendant Referring Physicians).

       257.    As with the complimentary interpreters and scheduling services, this practice was

longstanding and predated CHI-St. Luke’s purchase of St. Luke’s Episcopal Hospital. For

example, St. Luke’s Episcopal Hospital billed international patient J.O.O. for charges incurred to

multiple Referring Physicians for dates of service 6/7/10 to 6/24/10. The billing services were

provided on a complimentary basis to Referring Physicians including Pulmonary Critical Care &

Sleep Medicine Consultants ($3,353.60 billed for services of Dr. Dahlberg, Dr. Manion, and Dr.

Connolly, reflecting a discount offered by these physicians that St. Luke’s Episcopal Hospital

incorporated into the bill) and Defendant Douglas ($100 billed for gastroenterology services), and



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then St. Luke’s Episcopal Hospital went on to collect payment from patient J.O.O. and disburse it

to the Referring Physicians.

        258.   The improper remuneration in the form of free billing and collection services

described in this section was being provided to the Referring Physicians in 2011, when Relator

first began working at the ISD, continued unabated until late 2016, and continues on a more limited

basis to the present day.

4.      Complimentary International Travel Perks

        259.   In addition to the illegal remuneration described above, the Hospital Defendants

also provided all-expense paid international trips organized by the ISD to those referring

physicians responsible for the largest number of Medicare and Medicaid referrals to BSLMC.

        260.   These trips were referenced and discussed in ISD staff meetings that Relator

attended.

        261.   The lavish trips were put on by the ISD Marketing Department and included stays

at expensive 5-star hotels, as well as tickets to local events or shows, providing value to the

recipient physicians.

        262.   The Referring Physicians who were provided with these trips included Dr.

Hoffman, Dr. Krajcer, Dr. Cosselli, and Dr. Lamelas,.

        263.   For example, the ISD Marketing Department paid for Dr. Lamelas to travel to Lima,

Peru in early August 2017 on such a lavish trip.

        264.   The Hospital Defendants provided this illegal remuneration through the ISD

knowingly and willfully to ingratiate themselves with the Referring Physicians and at least in part

to induce Medicare and Medicaid referrals.




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       265.    On information and belief, international travel perks were provided to those

Referring Physicians who referred the most Medicare and Medicaid patients to Defendant CHI-St.

Luke’s as a further inducement for Medicare and Medicaid referrals.

       266.    Dr. Hoffman, for example, was gifted with lavish complimentary international

travel perks because he was considered a “preferred” provider by ISD staff including VP Matar

and Associate Sanchez due to his being a consistent source of referrals of Medicare and Medicaid

patients back to BSLMC.

       267.    The patients recruited on these international trips would be referred to the Referring

Physicians by the ISD. The Hospital Defendants expected these same physicians to continue to

refer their Medicare and Medicaid patients to BSLMC in return for the trips and the referrals.

              LIABILITY OF THE DEFENDANT REFERRING PHYSICIANS

       268.    Each of the Defendant Referring Physicians, including APNIX, Bone and Joint

Clinic of Houston, Greater Houston Gastroenterology, Houston Thyroid & Endocrine Specialists,

Kidney Associates, Kidney and Hypertension Consultants, Leachman Cardiology Associates,

Pulmonary Critical Care & Sleep Medicine Consultants, Surgical Associates of Texas, Texas

Endocrinology Group, The Center for ENT, Baylor College of Medicine, MedCare, and Drs.

Boccalandro, Colomer, Cherem, Dahlberg, Douglass, Elhaj, Fishman, Hoffman, Hung, Jogi, Katz,

Krajcer, Leachman, Livesay, Lopez, Mesa, Moses, Raijman, Santacruz, Singh, and Sista treated

Medicare and/or Medicaid patients received payments from the government through the Medicare

and/or Medicaid programs.

       269.    Each of these Defendant Referring Physicians also referred their Medicare and/or

Medicaid patients out for services they could not provide, including to hospitals.




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       270.    The Hospital Defendants knowingly and willfully offered and/or paid remuneration

to the Referring Physicians to induce them to refer their Medicare and Medicaid patients to

BSLMC.

       271.    The Defendant Referring Physicians knowingly and willfully received and

accepted renumeration from the Hospital Defendants that they understood was provided to induce

referrals of their Medicare and Medicaid patients to BSLMC.

       272.    The Defendant Referring Physicians knowingly and willfully made referrals of

Medicare and Medicaid patients to the Hospital Defendants while they had an improper financial

relationship with the Hospital Defendants pursuant to which they received the improper

remuneration described herein.

       273.    The Defendant Referring Physicians knowingly and willfully made referrals of

Medicare and Medicaid patients to the Hospital Defendants even know they knew that doing so

violated the Stark Act.

       274.    The Defendant Referring Physicians knowingly and willfully made referrals of

Medicare and Medicaid patients to the Hospital Defendants even know they knew that doing so

violated the Anti-Kickback Statute.

       275.    When the Defendant Referring Physicians referred Medicare and Medicaid patients

to the Hospital Defendants for services, they knew that the Hospital Defendants would bill the

government for those services.

       276.    When the Defendant Referring Physicians referred Medicare and Medicaid patients

to the Hospital Defendants for services, the Defendant Referring Physicians knew that the resulting

claims and statements made by the Hospital Defendants to obtain payment from the government

would be false or fraudulent because of AKS and Stark Act violations, or in the alternative, acted



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with deliberate ignorance of the truth or falsity of the information provided to the government or

reckless disregard of the truth or falsity of the information provided to the government.

        277.    The Defendant Referring Physicians knowingly, purposefully, and willfully

assisted in causing the government to pay Medicare and Medicaid claims submitted by the Hospital

Defendants that were grounded in fraud due to the illegal kickback scheme described herein.

        278.    The Defendant Referring Physicians knew the requirements of the AKS and Stark

Act.

        279.    The Defendant Referring Physicians (themselves or through their agents) had all

billed the government for services provided to federal health care program beneficiaries for their

own Medicare and/or Medicaid clients, and had thus made the certifications described above,

including that they had familiarized themselves with the applicable laws such as the AKS and

Stark law.

        280.    The Defendant Referring Physicians were also on notice from the government that

they were to avoid receiving illegal remuneration from hospitals intended at least in part to induce

referrals, having been warned of the risk of “improper inducements, kickbacks, and self-referrals,”

including “arrangements with hospitals.” Dep’t of Health & Human Servs. Office of Inspector

General Compliance Program for Individual and Small Group Physician Practices, 65 Fed. Reg.

59434 (Oct. 5, 2000). They knew that hospitals had incentives to provide them remuneration to

curry favor and induce referrals, since physicians are the primary source of Medicare and Medicaid

referrals to hospitals.

        281.    The improper remuneration received by the Defendant Referring Physicians in the

form of international patient referrals, free interpreters, and free administrative services was

provided with high frequency to each of the Defendant Referring Physicians over a period of years.



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It had significant financial value to them. For those Defendant Referring Physicians who received

luxurious international travel at the Hospital Defendants’ expense, the financial value was even

greater.

       282.    This extensive volume, high frequency, and significant value of remuneration

coming from the ISD made it obvious and apparent that the Hospital Defendants were using the

ISD as a means to curry favor with the Referring Physicians and induce the Hospital Defendants

to send their patients—including Medicare and Medicaid beneficiaries—to BSLMC rather than

other hospitals.

       283.    Moreover, as set forth above, the Hospital Defendants made evident their unlawful

intent to solicit and induce referrals to the Referring Physicians through the ISD by increasing and

decreasing the flow of international patient referrals to the Referring Physicians based on the

volume of referrals received back to BLSMC.

       284.    On information and belief, the Hospital Defendants, including Matar and Sanchez,

also communicated their unlawful intent to induce referrals to the Defendant Referring Physicians

directly or through their staff. Relator has good cause for this belief because VP Matar and

Associate Director Sanchez were vocal about their scheme and did not shy away from indicating

to ISD employees such as Relator that they were rewarding high levels of referrals and punishing

low levels of referrals from Referring Physicians.

       285.    The illegal remuneration described in this Complaint was not universally accepted

by physician and provider referral sources. Some physicians, such as Dr. Urrutia, refused certain

complimentary services and declined to provide a high volume of referrals to BSLMC, and as a

result, were punished with reduced referrals of lucrative international patients by the ISD.




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                                          MATERIALITY

       286.      The Government would not have paid bills submitted by the Hospital Defendants

for medical services had it known that the billed services were solicited and referred illegally by

the Referring Physicians through AKS and Stark Act violations.

       287.      Submission of claims for services that were solicited and referred illegally through

AKS and Stark Act violations goes to the very essence of the bargain between the Hospital

Defendants and the Government for reasons including that the Government agrees to pay for

beneficiary care only upon the condition that neutral physicians—not physicians receiving illegal

remuneration who stand to profit directly from the billing—have identified beneficiaries as

needing care and referred those beneficiaries to the billing entity without any compromised

relationship.

       288.      The AKS and Stark Act are meant to ensure that the government pays for only

conflict-free medical care provided in the best interests of the patient; kickbacks, in turn, taint

medical decisions with financial interests and raise numerous concerns for the integrity of

Medicare and Medicaid programs, including corruption of medical judgment, overutilization,

increased costs, and unfair competition.

       289.      Under the amended AKS, “a claim that includes items or services resulting from a

violation of [the AKS] constitutes a false or fraudulent claim for purposes of [the FCA].” 42 U.S.C.

§ 1320a-7b(g).

       290.      The AKS provides a per se prohibition against the payment of kickbacks in any

form, regardless of whether the particular kickback gave rise to overutilization of federal

healthcare services or to poor quality of care, reflecting the materiality of kickbacks to the

government’s decision to pay for care.



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        291.    Congress strengthened the AKS in 1977 and 1987 to ensure that kickbacks

masquerading as legitimate transactions did not evade the statute’s reach. See Social Security

Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare-

Medicaid Antifraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid Patient

and Program Protection Act of 1987, Pub. L. No. 100-93. As such, “[i]f any one purpose of

remuneration is to induce or reward referrals of federal healthcare program business, the [Anti-

Kickback] statute is violated.” 66 Fed. Reg. 919 (citing United States v. Kats, 871 F.2d 105 (9th

Cir. 1989); United States v. Greber, 760 F.2d 68 (3rd Cir. 1985)).

        292.    Likewise, pursuant to the Stark Act, if a physician has a financial relationship with

a hospital or entity, then:

                (A) The physician may not make a referral to the entity for the
                furnishing of designated health services for which payment
                otherwise may be made under this subchapter, and

                (B) the entity may not present or cause to be presented a claim under
                this subchapter or bill to any individual, third party payor, or other
                entity for designated health services furnished pursuant to a referral
                prohibited under sub paragraph (A).

42 U.S.C. § 1395nn(a)(1).

        293.    Federal healthcare programs are statutorily prohibited from paying for designated

health services furnished pursuant to a prohibited referral. 42 U.S.C. § 1395nn(g)(1) (“No payment

may be made under this subchapter for a designated health service which is provided in violation

of subsection (a)(1) of this section.”).

        294.    The AKS and Stark Act are critical provisions of the Medicare and Medicaid

statutes, and thus compliance with both is material to the government’s treatment of claims for

reimbursement.




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       295.       The AKS and Stark Act impose criminal penalties and civil penalties upon

violators—they are do not amount to mere de minimis technical requirements.

       296.       The Government routinely criminally prosecutes and imposes civil penalties upon

health care providers who violate the AKS and Stark Act.

       297.       The Government also routinely prosecutes False Claims Act cases against health

care providers who submit false or fraudulent claims or statements associated with AKS and Stark

Act violations.

       298.       Claims for payment for services to federal healthcare programs are materially false

when the patient was referred under a kickback scheme, as alleged above, because the kickback is

material information that renders the claim ineligible for payment.

       299.       Certifications of compliance with the AKS and Stark Act are prerequisites for

payment and thus are material to government reimbursement under Medicare and Medicaid.

       300.       The government has expressly conditioned payment of Medicare and Medicaid

claims upon the claimant’s certification of compliance with the AKS and Stark Act.

       301.       The government has repeatedly warned hospitals and referring physicians against

engaging in illegal remuneration schemes such as the one alleged here. See, e.g., Paragraphs 164-

166.

       302.       The government did not know about the violations alleged here at the time of

payment.

                                                   CLAIMS

                           Count I – False Claims Act, 31 U.S.C. § 3729(a)(1)(A)

       303.       Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.



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       304.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       305.     As described above, Defendants knowingly presented, or caused to be presented,

to an officer or employee of the government, false or fraudulent claims for payment or approval,

in violation of 31 U.S.C. § 3729(a)(1)(A).

       306.     As described above, Defendants knowingly presented, or caused to be presented,

to an officer or employee of the government, false or fraudulent claims for payment or approval,

in violation of 31 U.S.C. § 3729(a)(1)(A).

       307.     As described above, the Hospital Defendants’ illegal kickbacks to the Referring

Physicians to induce Medicare and Medicaid referrals violated the federal Anti-Kickback Statute,

42 U.S.C. § 1320a-7b(b)(2) and the Stark laws. As a result, claims for payment by Defendants to

the federal health care programs were false and fraudulent because they were tainted by kickbacks,

making them ineligible for payment. Accordingly, Defendants knowingly caused to be presented

false or fraudulent claims for payment or approval in violation of the False Claims Act, 31 U.S.S.

§ 3729(a)(1)(A).

       308.     As a result of these false or fraudulent claims, the government sustained substantial

damages to be determined at trial, and is entitled to treble damages plus a civil penalty for each

violation.

                        Count II – False Claims Act, 31 U.S.C. § 3729(a)(1)(B)

       309.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       310.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.



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       311.     As described above, Defendants knowingly made, used, or caused to be made or

used, false records or statements material to a false or fraudulent claim for payment or approval

by the government, in violation of 31 U.S.C. § 3729(a)(1)(B).

       312.     As described above, the Hospital Defendants’ illegal kickbacks to the Defendant

Referring Physicians to induce Medicare and Medicaid referrals violated the federal Anti-

Kickback Statute, 42 U.S.C. § 1320a-7b(b)(2) and the Stark laws. As a result, Defendants made or

caused to be made false records or statements that were material to false or fraudulent claims for

payment submitted to federal health care programs. The false records or statements included false

certifications and representations of full compliance with all federal and state laws and regulations

prohibiting false or fraudulent reporting, including, but not limited to, the federal Anti-Kickback

Statute, 42 U.S.C. § 1320a-7b(b)(2) and the Stark laws.

       313.     As a result of these false or fraudulent records or statements, the government

sustained substantial damages to be determined at trial, and is entitled to treble damages plus a

civil penalty for each violation.

                        Count III – False Claims Act, 31 U.S.C. § 3729(a)(1)(G)

       314.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       315.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       316.     The regulations implementing the Stark Law require that “[a]n entity that collects

payment for a designated health service that was performed pursuant to a prohibited referral must

refund all collected amounts on a timely basis, as defined at § 1003.101 of this title.” 42 C.F.R. §

411.353(d).



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       317.     As described above, Defendants knowingly concealed or knowingly and

improperly avoided or decreased an obligation to pay or transmit money or property to the

government, in violation of 31 U.S.C. § 3729(a)(1)(G).

       318.     As described above, Defendants knowingly made, used, or caused to be made or

used, a false record or statement material to an obligation to pay or transmit money or property to

the government, in violation of 31 U.S.C. § 3729(a)(1)(G).

       319.     As described above, by violating their record-keeping obligations and undertakings

such that the government would not discover Defendants’ violations, Defendants concealed from

the government the fact that the government was entitled to refunds and/or accommodations from

Defendants.

       320.     As a result of their acts or omissions, the government sustained substantial damages

to be determined at trial, and is entitled to treble damages plus a civil penalty for each violation.

                        Count IV – False Claims Act, 31 U.S.C. § 3729(a)(1)(C)

       321.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       322.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       323.     As described above, the Defendants conspired to defraud the Government by

getting false or fraudulent claims allowed or paid, and/or conspired to commit a violation of 31

U.S.C. § 3729(a)(1)(A), (B) or (G), in violation of 31 U.S.C. § 3729(a)(1)(C).

       324.     As a result of their acts or omissions, the government sustained substantial damages

to be determined at trial, and is entitled to treble damages plus a civil penalty for each violation.




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        Count V – Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code § 36.002(1)

       325.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       326.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       327.     As described above, Defendants knowingly made or caused to be made a false

statement or misrepresentations of a material fact to permit the Defendants to receive a payment

under the Medicaid program that is not authorized, in violation of Tex. Hum. Res. Code §§

36.002(1).

       328.     As described above, the Hospital Defendants’ illegal kickbacks to the Defendant

Referring Physicians to induce Medicaid referrals violated the federal Anti-Kickback Statute, 42

U.S.C. § 1320a-7b(b)(2), the Stark laws, and the Texas anti-kickback provision in Tex. Hum. Res.

Code § 32.039(b). As a result, claims for payment by the Defendants to the federal health care

programs were false and fraudulent because they were tainted by kickbacks, making them

ineligible for payment. Accordingly, Defendants knowingly caused to be presented false or

fraudulent claims for payment or approval in violation of the Texas Medicaid Fraud Prevention

Act, Tex. Hum. Res. Code §§ 36.002(1).

       329.     As a result of these false or fraudulent claims, the State of Texas sustained

substantial damages to be determined at trial, and is entitled to double damages plus a civil penalty

for each violation.

        Count VI – Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code § 36.002(2)

       330.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.



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       331.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       332.     As described above, Defendants knowingly concealed or failed to disclose

information that permitted Defendants to receive a payment under the Medicaid program that was

not authorized in violation of Tex. Hum. Res. Code §§ 36.002(2).

       333.     As described above, the Hospital Defendants’ illegal kickbacks to the Defendant

Referring Physicians to induce Medicaid referrals violated the federal Anti-Kickback Statute, 42

U.S.C. § 1320a-7b(b)(2), the Stark laws, and the Texas anti-kickback provision in Tex. Hum. Res.

Code § 32.039(b). As a result, claims for payment by the Defendants to the federal health care

programs were false and fraudulent because they were tainted by kickbacks, making them

ineligible for payment. Accordingly, Defendants knowingly concealed or failed to disclose

information that permitted Defendants to receive payment under the Medicaid program in violation

of the Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code §§ 36.002(2).

       334.     As a result of these false or fraudulent claims, the State of Texas sustained

substantial damages to be determined at trial, and is entitled to double damages plus a civil penalty

for each violation.

                      Count VII – Texas Medicaid Fraud Prevention Act,
                              Tex. Hum. Res. Code § 36.002(4)

       335.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       336.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.




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       337.     As described above, Defendants made false statements or misrepresentations of

material facts concerning information required to be provided by federal or state law, rule,

regulation, or provider agreement in violation of Tex. Hum. Res. Code §§ 36.002(4).

       338.     As described above, Defendants were required to submit an enrollment application

at least every five years certifying compliance with all Medicaid regulations. Further, Defendants

certified their understanding that Medicaid payments were conditioned on compliance with the

Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b)(2) and the Stark laws. As a result, Defendants

made false statements or misrepresentations of material facts when they certified they would abide

by all Medicaid regulations, including Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b)(2) and the

Stark laws.

       339.     As a result of these false or fraudulent claims, the State of Texas sustained

substantial damages to be determined at trial, and is entitled to double damages plus a civil penalty

for each violation.

                         Count VIII – Texas Medicaid Fraud Prevention Act,
                                 Tex. Hum. Res. Code § 36.002(12)

       340.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       341.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       342.     As described above, Defendants knowingly made, used, or caused to be made or

used, false records or statements material to an obligation to pay or transmit money or property to

the state of Texas under the Medicaid program, and knowingly concealed or knowingly and

improperly avoided or deceased an obligation to pay or transmit money or property to the state of

Texas in violation of Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code §§ 36.002(12).

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       343.     As described above, by violating their record-keeping obligations and undertakings

such that the State of Texas would not discover Defendants’ violations, Defendants concealed from

the state of Texas the fact that the government was entitled to refunds and/or accommodations

from the Hospital Defendants.

       344.     As a result of their acts or omissions, the State of Texas sustained substantial

damages to be determined at trial, and is entitled to double damages plus a civil penalty for each

violation.

                          Count IX – Texas Medicaid Fraud Prevention Act,
                                 Tex. Hum. Res. Code §§ 36.002(13)

       345.     Relator incorporates and re-alleges each paragraph of this Complaint as if fully set

forth herein.

       346.     Relator hereby incorporates by reference the documents and exhibits attached,

recited, or referenced herein.

       347.     As described above, the Hospital Defendants’ illegal kickbacks to the Defendant

Referring Physicians to induce Medicaid referrals violated the Texas anti-kickback provision in

Tex. Hum. Res. Code § 32.039(b). As a result, claims for payment to Defendants through the

Medicaid program were false and fraudulent because they were tainted by kickbacks, making them

ineligible for payment in violation of Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code

§ 36.002(13).

       348.     As a result of the Defendants’ kickback scheme, the State of Texas sustained

substantial damages to be determined at trial, and is entitled to double damages plus a civil penalty

for each violation.




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                                       Jury Trial Demanded

        The United States of America, on the relation of Hichem Chihi, hereby demands trial by

jury on all issues so triable.

                                          Relief Requested

        WHEREFORE, Hichem Chihi respectfully requests that this Court enter judgment in his

favor and in favor of the United States of America against Defendants, awarding: treble damages

and penalties for violations of 31 U.S.C. § 3729; other damages to the extent allowed by law; all

costs associated with litigating this civil action, including attorney’s fees; an award to relator Chihi

of thirty percent of the government’s recovery; interest; and all other relief this Court deems just

and proper.



                                                                Respectfully Submitted,

                                                                /s/ Ruth Brown



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